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                                          Court File No.: CV-23-00703509-00CL




                          ONTARIO
                 SUPERIOR COURT OF JUSTICE
                     (COMMERCIAL LIST)




          IN THE MATTER OF THE COMPANIES’ CREDITORS
         ARRANGEMENT ACT, R.S.C., 1985, c.C-36 AS AMENDED


AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
 LIGHTHOUSE IMMERSIVE INC. AND LIGHTHOUSE IMMERSIVE USA, INC.
                      (THE “APPLICANTS”)




               THIRD REPORT OF THE MONITOR

                         NOVEMBER 16, 2023
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I.   INTRODUCTION

1.   On July 27, 2023, Lighthouse Immersive Inc. (“Lighthouse”) and Lighthouse Immersive
     USA, Inc. (“Lighthouse USA”) (collectively, the “Applicants”) commenced proceedings
     (the “CCAA Proceedings”) under the Companies’ Creditors Arrangement Act, R.S.C., 1985,
     c. C-36 (the “CCAA”) pursuant to the Order of the Honourable Madam Justice Kimmel of
     the Ontario Superior Court of Justice (Commercial List) (the “Court”) dated July 27, 2023
     (the “Initial Order”).

2.   On August 3, 2023, the Honourable Madam Justice Kimmel of the Court issued an amended
     and restated initial order (the “Amended and Restated Initial Order” or “ARIO”), that,
     among other things:

     (a)    extended the stay of proceedings in favour of the Applicants through October 6, 2023;

     (b)    increased the authorized borrowings under the DIP Facility from the principal amount
            of $1,100,000 to $3,500,000 (plus interest, fees and expenses); and

     (c)    increased the amount of the Court-ordered Charges as follows:

            (i)     increased the quantum of the Administration Charge from $275,000 to
                    $500,000; and

            (ii)    increased the quantum of the Directors’ Charge from $250,000 to $500,000.

3.   The Initial Order and ARIO were recognized in the United States Bankruptcy Court for
     District of Delaware (the “US Bankruptcy Court”) under Chapter 15 of Title 11 of the United
     States Code, 11 U.S.C. § 101-1532 (the “US Bankruptcy Code”). The Applicants obtained a
     final order from the US Bankruptcy Court granting recognition of the CCAA proceedings on
     August 28, 2023.

4.   On October 3, 2023, the Monitor appeared before the Court and obtained an endorsement that
     expanded the scope of the Monitor’s powers pursuant to ss. 11 and 23(1)(k) of the Companies’
     Creditors Arrangement Act, RSC 1985, c C-36 (the “October 3 Endorsement”).
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5.   On October 6, 2023, the Honourable Justice Cavanagh of the Court issued an order extending
     the stay of proceedings in favour of the Applicants through December 8, 2023 (the “Stay
     Extension Order”).

6.   On October 13, 2023, the Honourable Justice Cavanagh of the Court issued an order (the
     “SISP Order”) that, among other things:

     (a)    approved the sale and investment solicitation process (the “SISP”); and

     (b)    approved the stalking horse agreement executed by SCS Finance, Inc. (the “Stalking
            Horse Bidder”) dated as of October 5, 2023 (the “Stalking Horse Agreement”).

7.   On October 13, 2023, the Honourable Justice Cavanagh of the Court issued an ancillary order
     (the “DIP Increase Order”) that, among other things:

     (a)    increased the authorized borrowings under the DIP Facility from the principal amount
            of $3,500,000 to $4,000,000 (plus interest, fees and expenses); and

     (b)    approved the Monitor’s activities set out in the First Report and Second Report.

8.   On October 27, 2023, Lighthouse Immersive Inc., as authorized Foreign Representative,
     brought a motion to, among other things, recognize and enforce the SISP Order, the DIP
     Increase Order, and the Stay Extension Order (the “Recognition Motion”), and recognize and
     enforce the CCAA Sale Approval Order and Approve the Sale of the Debtors’ Assets (the
     “U.S. Sale Approval Motion”), that was filed in the Chapter 15 proceedings in the United
     States Bankruptcy Court for the District of Delaware (“U.S. Court”). On the same date, the
     US Court granted the relief related to the Recognition Order. Attached hereto as Appendix
     “A” is a copy of the issued order. The U.S. Sale Approval Motion is scheduled to be heard by
     the U.S. Court on December 4, 2023.

9.   The Monitor files this report (the “Third Report”) in connection with the Applicants’ motion,
     to be heard by this Honourable Court on November 22, 2023 (the “November 22 Hearing”),
     for:

     (a)    an Order (the “Approval and Vesting Order”) which, among other things:
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             (i)     approves the sale transaction (the “Transaction”) contemplated by the
                     Stalking Horse Agreement; and

             (ii)    authorizes and empowers the Applicants to take all necessary and desirable
                     steps to conclude the Transaction contemplated by the Stalking Horse
                     Agreement; and

             (iii)   approving certain third party releases (“Releases”) in favour of certain parties
                     as defined in the Approval and Vesting Order (the “Released Parties”).

10.   This Third Report provides information to this Honourable Court in respect of the following:

      (a)    the activities of the Monitor since the Second Report, including the administration of
             the SISP and facilitating discussions between the Applicants, Eccentriche SRLS
             (“Visioni”) and Massimiliano Siccardi (“Siccardi”);

      (b)    the Applicants’ actual receipts and disbursements for the six (6) week period ended
             November 12, 2023, as compared with the Revised Cash Flow Forecast appended as
             Appendix “C” to the Second Report; and

      (c)    the Monitor’s conclusions and recommendations with respect to the Applicants’
             motion as set out above.

II.   TERMS OF REFERENCE

11.   In preparing this Third Report, the Monitor has relied upon the Applicants’ unaudited financial
      information, certain other information and financial projections of the Applicants, and
      discussions with the Applicants’ management (“Management”) (collectively, the
      “Information”).

12.   The Monitor has not audited or otherwise attempted to verify the accuracy or completeness of
      the Information in a manner that would wholly or partially comply with Canadian Auditing
      Standards (“CAS”) pursuant to the Chartered Professional Accountants Canada Handbook,
      and, accordingly, the Monitor expresses no opinion or other form of insurance contemplated
      under CAS in respect of the Information. Any party wishing to place reliance on the
      Information should perform its own due diligence.
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13.    Future oriented financial information referred to in this Third Report was prepared based on
       Management’s estimates and assumptions. Readers are cautioned that, since projections are
       based upon assumptions about future events and conditions that are not ascertainable, the
       actual results may vary from the projections, even if the assumptions materialize, and those
       variances could be significant.

14.    Unless otherwise stated, all references to monetary amounts in this Third Report are expressed
       in U.S. dollars ($USD). Capitalized terms not otherwise defined herein have the meaning
       given to them in the Affidavit of Corey Ross dated July 27, 2023 (“Ross Affidavit”), the first
       report of the Monitor (the “First Report”) dated August 1, 2023, the second report and
       supplemental second report of the Monitor dated October 5, 2023 and October 12, 2023
       respectively (together, the “Second Report”), the ARIO, and the October 3 Endorsement.

15.    Further information regarding the CCAA Proceedings, including all filed motion materials,
       reports of the Monitor, and Court Orders, is available on the Monitor’s website at
       https://brileyfarber.com/engagements/lighthouse-immersive/ (the “Monitor’s Website”).

III.   BACKGROUND

16.    The Applicants are in the business of producing immersive show exhibits in Canada, the
       United States, and various cities around the world, through their multiple affiliated entities
       and their Subsidiaries (as defined in the ARIO).

17.    Detailed background information in respect of the Applicants has been provided in the
       Monitor’s previous reports to the Court, and the Ross Affidavit, available on the Monitor’s
       Website.

IV.    ACTIVITIES OF THE MONITOR

18.    Since the date of the Second Report (October 5, 2023), the Monitor’s primary activities have
       included the following:

General

       (a)    conducting meetings and discussions with Management, the Applicants’ legal counsel
              and the Monitor’s legal counsel regarding the Applicants’ business and financial
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              affairs, including its cash flow forecast, financing requirements, operational
              restructuring activities, SISP; and other matters relating generally to the CCAA
              Proceedings,

Cash Management

       (b)    collecting DIP advances in the amount of USD $600,000 and CAD $900,000 from the
              DIP Lender to be advanced to the Applicants to fund operating and professional fee
              disbursements. The total advances under the DIP as of the date of this Third Report is
              $2,874,000. As discussed further below, the Monitor understands that the projected
              DIP balance will be $4,000,000 at closing of the Transaction (as defined below);

       (c)    monitoring and approving the Applicants’ receipts and disbursements on a regular
              basis including monitoring bank transactions, DIP Facility advances and vendor
              payments, among other things;

       (d)    reviewing with Management the Applicants’ ongoing cash flow forecast and weekly
              variances from forecast as well as assisting the Applicants in the preparation of
              ongoing cash flow forecasting;

Stakeholder Communications

       (e)    attending several virtual meetings with the principals and legal counsel of the
              Applicants, Visioni and Siccardi in an attempt to find a tripartite resolution to their
              dispute;

       (f)    responded to information requests from stakeholders;

       (g)    corresponding and discussing with various stakeholders including interested parties in
              the SISP, secured and unsecured creditors and directors of the Applicants;

Obtaining Legal Opinions

       (h)    obtaining legal opinions regarding the Applicants’ secured creditors’ security; and

Sales and Investor Solicitation Process
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      (i)       conducting the Sales and Investment Solicitation Process as more fully detailed below.

V.    SALE AND INVESTMENT SOLICITATION PROCESS

19.   Pursuant to the SISP Order, the Monitor was authorized and directed to take such steps, on
      behalf of the Applicants, as it deemed necessary or advisable to carry out and perform its
      obligations under the SISP. Capitalized terms used in this section not otherwise defined have
      the meaning ascribed to them in the SISP Order.

Summary of the SISP

20.   As set out in the Second Report and the SISP, the SISP’s purpose was to generate interest in,
      and solicit offers for one or more transactions involving the restructuring, recapitalization or
      other form of reorganization of the Business as a going concern or a sale of all, substantially
      all or one or more components of the Property and the Business as a going concern or
      otherwise, or some combination thereof.

21.   As the Stalking Horse Bidder is a related party to the Applicants, the Monitor implemented
      and conducted all aspects of the SISP to maintain the integrity of the SISP. The Monitor did
      not share any confidential information of the other interested parties engaged in the SISP with
      the Applicants and did not provide the identify of the other interested parties to the Applicants.

22.   The SISP was structured as a one-stage process that involved the submission by interested
      parties of binding offers by the Bid Deadline.

23.   The following table summarizes the key milestones under the SISP:


                         Milestone                                  Deadline
                       SISP Approval                            October 13, 2023
            Recognition of SISP in US Bankruptcy
                                                                October 27, 2023
                            Court

                                                        November 15, 2023 at 5:00 p.m.
                        Bid Deadline
                                                                       (EST)

                                                        November 17, 2023 at 5:00 p.m.
                 Auction Date (if required)
                                                                       (EST)
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            Hearing of the Sale Approval Motion                November 22, 2023

                Sale Approval Motion in US                     December 4, 2023
                     Bankruptcy Court

                                                            Immediately following the
                                                         recognition of the Sale Approval
                 Closing of the Transaction
                                                        Order by the US Bankruptcy Court



24.   With the assistance of the Applicants, the Monitor developed a sale or investment opportunity
      teaser (the “Teaser Letter”) to invite potential interested parties to participate in the SISP.

25.   In preparation for the SISP Approval, the Monitor prepared a list of potential bidders
      (“Known Potential Bidders”) who may have an interest in a transaction. The Monitor
      continuously updated the Known Potential Bidders list following the SISP Approval.

26.   To identify Known Potential Bidders, the Monitor:

      (a)      researched financial databases including S&P Capital IQ and PitchBook for potential
               strategic buyers in industries in which the Applicants conduct its business and other
               similar industries;

      (b)      reviewed a list of parties who, during the CCAA Proceedings, contacted the Monitor
               and expressed interest in a potential acquisition of the Applicants’ property and/or
               business;

      (c)      reviewed a list of liquidators and auctioneers who may have interest in the Applicants’
               physical assets;

      (d)      contacted investment banking and restructuring professionals at the Monitor’s
               affiliate, B. Riley Financial, Inc. in the United States and globally through BTG Global
               Advisory to expand the scope of the SISP to a global audience of potential interested
               parties; and

      (e)      obtained from the Applicants the information of further potential interested parties.
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27.   On October 16, 2023, an initial offering summary in the form of an email was sent to 33
      Known Potential Bidders of the SISP. The email invited Known Potential Bidders to express
      their interest in participating in the SISP, and attached a copy of the Teaser, a non-disclosure
      agreement (“NDA”) and a letter acknowledging receipt of the SISP and agreeing to be bound
      by the terms of the SISP (the “Acknowledgement Letter”, and collectively with the Teaser
      and the NDA, the “SISP Offering Documents”). A copy of the SISP Offering Documents
      has been attached as Appendix “B”.

28.   The SISP Offering Documents were subsequently sent to an additional 11 Known Potential
      Bidders, raising the total number of recipients of the SISP Offering Documents to 44 Known
      Potential Bidders.

29.   A secure virtual data room was established by the Monitor which contained confidential
      information pertaining to the Applicants, their property, their business and the SISP, and was
      available to all Qualified Bidders.

30.   An advertisement of the SISP was posted in the “Assets for Sale” section of the regular weekly
      email updates from Insolvency Insider, a go-to source for restructuring professionals in
      Canada commencing on October 16, 2023, a copy of which is attached hereto as Appendix
      “C”.

31.   An advertisement of the SISP was published in the Financial Post (business section of the
      National Post), a copy of which is attached hereto as Appendix “D”.

32.   The Monitor is of the view that the market was strategically and sufficiently canvassed for
      potential purchasers by the steps outlined above.

SISP Bid Results

33.   At the Bid Deadline of November 15, 2023, the Monitor received executed NDAs from nine
      (9) interested parties. Four (4) of these parties were granted access to the virtual data room.
      The other five (5) interested parties were not granted access to the virtual data room as they
      were not able, or willing, to sufficiently show financial wherewithal to close a transaction in
      accordance with the SISP. The Monitor did not involve the Applicants in assessing the
      financial wherewithal of the interested parties.
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34.    At the Bid Deadline, no interest was expressed by any party to be considered a Qualified
       Bidder, nor were any Qualified Bids received by the Monitor. As such, and pursuant to the
       SISP, the Stalking Horse Agreement is deemed to be the Successful Bid. There was no need
       to consider holding an auction.

VI.    THE STALKING HORSE AGREEMENT TRANSACTION

35.    The key terms and conditions of the Stalking Horse Agreement are set out in paragraphs 33
       through 35 of the Second Report.

36.    A summary of the Transaction contemplated in the Stalking Horse Agreement is as follows:

       (a)    the purchase price being the aggregate of:

              (i)     an amount required to satisfy the Priority Payables, which amount shall be
                      subject to adjustment as at the Closing Time; plus

              (ii)    the Credit Bid Amount, meaning the amount equivalent to all amounts owing
                      under the DIP Term Sheet as of the Closing Time, which is estimated to be
                      $4,000,000; plus

              (iii)   The aggregate amount of the Assumed Liabilities, the Contract Assumed
                      Liabilities and any cure costs arising from the assignment of a Consent
                      Required Contract under any Assignment Order granted by the Court;

       (b)    there are no break fees or other fees payable pursuant to the Stalking Horse Agreement;
              and

       (c)    the Transaction does not provide for a recovery to the unsecured creditors of the
              Applicants; however, it preserves the asset value for the benefit of the Applicants’
              stakeholders, preserves ongoing employment of the existing employees and ensures
              no disruption of services to the Applicants’ customers.

VII.   MONITOR’S RECOMMENDATION ON THE STALKING HORSE AGREEMENT

37.    The Monitor recommends that the Court approve the Stalking Horse Agreement for the
       following reasons:

       (a)    the SISP was the product of extensive consultation, including with the Monitor, and
              was previously approved by the Court;
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      (b)      the SISP was well structured and resulted in a broad canvassing of the market for
               potential purchasers of the Applicants’ business;

      (c)      the SISP was facilitated by the Monitor, which has extensive experience in marketing
               businesses and assets, and included consultation with the Applicants;

      (d)      the Stalking Horse Agreement is the product of a fair, transparent and reasonable SISP,
               and will result in the highest realization for the Applicants’ assets available in the
               circumstances;

      (e)      the terms of the Stalking Horse Agreement are commercially reasonable, and the
               Monitor is of the view that the purchase price is fair and reasonable;

      (f)      the Transaction provides greater recovery for the Applicants’ secured creditors than
               could be obtained in a bankruptcy or liquidation; and

      (g)      the Stalking Horse Agreement benefits many of the stakeholders (including customers,
               employees and suppliers) through a Transaction that results in a going-concern
               outcome for the Applicants’s business; and

      (h)      while the Purchaser is not unrelated to the Applicants, good faith efforts were made to
               sell or otherwise dispose of the Applicants’ assets to persons who were not related to
               the Applicants, and the Monitor is of the opinion that the consideration to be received
               is superior to the consideration that would be received under any other offer, which in
               this case, there were none.

38.   The Monitor is supportive of the Court approving the Transaction contemplated in the
      Stalking Horse Agreement and granting the Applicants’ requested Approval and Vesting
      Order.

VIII. RELEASES

39.   The proposed Approval and Vesting Order includes Releases in favour of the Released Parties
      which is defined to include: (i) the current and former directors, officers, employees, legal
      counsel and advisors of the Applicants, (ii) the Monitor and its legal counsel; and (iii) the
      Purchaser and its current and former directors, officers, employees, legal counsel and advisors.
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40.   The full scope of the release provisions is set out in the proposed Approval and Vesting Order
      and should be read in conjunction with this Third Report. The Releases explicitly do not
      release or discharge any claim that is not permitted to be released pursuant to section 5.1(2)
      of the CCAA.

41.   In the Monitor’s view, having considered the facts of the situation, each of the Released Parties
      have, in some meaningful way, contributed to the Transaction and the successful restructuring
      of the Applicants. Further, it is the Monitor’s understanding, based on advice of counsel, that
      it is customary to include such releases in Orders approving such a transaction.

42.   Accordingly, the Monitor is of the view that the proposed releases are reasonable and not
      overly broad in the circumstances, and it supports the relief requested by the Applicants.

IX.   UPDATE ON THE ANALYSIS OF SCS SECURED DEBT

43.   Further to the Monitor’s Second Report, the Monitor has obtained a formal security opinion
      from Ballard Spahr LLP (“US Counsel”) engaged to review the security interests granted by
      Lighthouse USA to its secured creditors.

44.   The opinion received from US Counsel confirms that the security interests granted by
      Lighthouse USA to its secured creditors in the collateral of Lighthouse USA is valid and
      enforceable and a type in which a security interest can be created under Article 9 of the
      Uniform Commercial Code as in effect of the State of New York (the “UCC Collateral”),
      and has been perfected to the extent such interest in the UCC Collateral can be perfected by
      the filing of a financial statement under the Uniform Commercial Code as in effect in the State
      of Delaware.

45.   As stated in the Monitor’s Second Report, the security interests granted to Lighthouse’s
      secured creditors were reviewed by Thornton Grout Finnigan LLP (“TGF”). TGF’s security
      opinion to the Monitor confirms that the security agreements granted by Lighthouse to is
      secured creditors create valid and enforceable security interests in Lighthouse’s personal
      property that secures payment and performance of Lighthouse’s obligations to its secured
      creditors. Further, the security interests have been perfected through registration under the
      Personal Property Security Act.
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X.    MONITORING OF RECEIPTS AND DISBURSEMENTS

46.   The Applicants’ actual cash receipts and disbursements for the six (6) week period ended
      November 12, 2023 (the “Reporting Period”) as compared with the Revised Cash Flow
      Forecast may be located within Appendix “E” (the “Variance Analysis”). The Variance
      Analysis has been summarized below:
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47.   The Applicants reported a cash flow shortfall of approximately $1.3 million before DIP
      Financing Advances; however, this was approximately $900,000 better than projected up to
      that time. The major variances are summarized below:

      (a)    a favourable variance of approximately $926,000 in Other Income receipts. An
             advance of $500,000 was received as a deposit for licensing fees for a new show. In
             addition, a state income tax refund of approximately $363,000 was received and
             certain other immaterial amounts were received. These receipts were not projected in
             the Revised Cash Flow Forecast;

      (b)    an aggregate favourable variance of approximately $181,000 in payroll expenses for
             the Applicants and a related party, which is a timing difference as the related party has
             not been fully reimbursed;

      (c)    an unfavourable variance in the total transfers to the LHI USA wholly owned
             subsidiaries for approximately $264,000 which partially offsets a previously reported
             favourable timing difference;

      (d)    an unfavourable variance of approximately $227,000 for pre-production show
             expenses, which was funded by the deposit noted above in Other Income;

      (e)    an unfavourable variance of approximately $132,000 in professional fee payments;
             and

      (f)    an unfavourable variance of approximately $1,145,000 of DIP Financing advances,
             which is a timing difference. Up to week 16 of the CCAA administration, the DIP
             Lender has advanced $2,854,803, including $1,280,803 in the Reporting Period. On
             November 15, 2023 (which is during week seven of the cash flow period), the DIP
             Lender advanced approximately $1,050,000 to the Monitor for future DIP Advances
             to the Applicants.

48.   The Applicants currently have a stay of proceedings to December 8, 2023, and the Revised
      Cash Flow Forecast covered this time period. Based on the current liquidity position and
      projected funding requirements of the Applicants, it is the Monitor’s view that the Revised
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       Cash Flow Forecast continues to be relevant and no amendments to the DIP Facility or
       Charges are necessary at this time.

XI.    CONCLUSION AND RECOMMENDATIONS

49.    The Monitor’s conclusions and recommendations on the relief sought by the Applicants are
       as follows:

       (a)     In the Monitor’s opinion, the Applicants are acting in good faith and with due diligence
               to further their restructuring efforts and nothing has come to the attention of the
               Monitor which would require the Monitor to report that a material adverse change has
               occurred; and

       (b)     The Monitor recommends the approval of the proposed Approval and Vesting Order.

All of which is respectfully submitted this 16th day of November, 2023.

B. RILEY FARBER INC.
IN ITS CAPACITY AS THE COURT APPOINTED MONITOR OF
LIGHTHOUSE IMMERSIVE INC. AND
LIGHTHOUSE IMMERSIVE USA, INC.
AND NOT IN ITS PERSONAL OR CORPORATE CAPACITY.


      B. Riley Farber Inc.
______________________________________________________
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                     APPENDIX “A”

   US BANKRUPTCY COURT SALE APPROVAL ORDER
                 Case
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re                                                       )    Chapter 15
                                                                )
    Lighthouse Immersive Inc., et al.,                          )    Case No. 23-11021 (LSS)
                                                                )
                                                                )    Jointly Administered
                                                         1
                     Debtors in a Foreign Proceeding.           )
                                                                )    Re D.I. 27

                        ORDER (I) RECOGNIZING AND ENFORCING
             (A) THE CCAA SISP ORDER, (B) THE CCAA DIP INCREASE ORDER,
                  (C) THE CCAA SEALING ORDER AND (D) THE CCAA STAY
                 EXTENSION ORDER AND (II) GRANTING RELATED RELIEF

                    Upon the motion (the “Motion”) of Lighthouse Immersive Inc., in its capacity as

foreign representative (the “Foreign Representative”) to the above-captioned debtors (the

“Debtors”), for entry of an order under sections 105, 363, 1507, 1520, and 1521 of the Bankruptcy

Code, (a) recognizing and enforcing the CCAA SISP Order, attached hereto as Exhibit 1,

approving, among other things, (i) the Sales Procedures and (ii) the Debtors’ entry into the Stalking

Horse Purchase Agreement, (b) recognizing and enforcing the CCAA DIP Increase Order, attached

hereto as Exhibit 2, (c) recognizing and enforcing the CCAA Sealing Order, attached hereto as

Exhibit 3, (d) recognizing and enforcing the CCAA Stay Extension Order, attached hereto as

Exhibit 4, and (e) granting such other relief as the Court deems just and proper, all as more fully

set forth in the Motion; and upon the (a) Declaration of Corey Ross in Support of (I) Chapter 15

Petitions for Recognition of Foreign Main Proceeding; (II) Motion of the Foreign Representative

for Entry of Provisional and Final Relief in Aid of Foreign Main Proceeding; and (III) Certain



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            The Debtors and the last four digits of its U.S. Federal Employer Identification Numbers or other
            unique identifier are as follows: Lighthouse Immersive Inc. (9411) (Ontario Corporation No.) and
            Lighthouse Immersive USA Inc. (2401) (FEIN). The Debtors’ mailing address is 640 Briar Hill
            Avenue, Toronto, Ontario, Canada, M5N 1N2.
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Related Relief (the “Ross Declaration”), (b) Second Report of the Monitor, (the “Second Monitor’s

Report”), and (c) Supplemental Second Report of the Monitor (the “Supplemental Second

Report”); and this Court having jurisdiction to consider the Motion and the relief requested therein

pursuant to 28 U.S.C. § 1334 and 11 U.S.C. §§ 109 and 1501; and venue being proper before this

Court pursuant to § 1410; and the Motion being a core proceeding pursuant to 28 U.S.C. § 157(b);

and adequate and sufficient notice of the filing of the Motion having been given by the Foreign

Representative; and it appearing that the relief requested in the Motion is necessary and beneficial

to the Debtors; and this Court having held a hearing to consider the relief requested in the Motion;

and there being no objections or other responses filed that have not been overruled, withdrawn, or

otherwise resolved; and after due deliberation and sufficient cause appearing therefor, it is hereby

FOUND AND DETERMINED THAT:

                A.      On October 6, 2023, the Canadian Court entered the CCAA Stay Extension

Order. On October 13, 2023, the Canadian Court entered (i) the CCAA SISP Order, approving

among other things, (a) the Sales Procedures and (b) the Debtors’ entry into the Stalking Horse

Purchase Agreement and (ii) the CCAA DIP Increase Order. On October 16, 2023, the Canadian

Court entered the CCAA Sealing Order.

                B.      The relief granted hereby is necessary and appropriate to effectuate the

objectives of chapter 15 of the Bankruptcy Code to protect the Debtors and the interests of their

creditors and other parties in interest, is consistent with the laws of the United States, international

comity, public policy, and the policies of the Bankruptcy Code, and will not cause any hardship to

any party in interest that is not outweighed by the benefits of the relief granted because the parties

in interest in these cases are sufficiently protected by the provisions in the CCAA Orders, and this

Order.




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               C.       Absent the requested relief, the efforts of the Debtors, the Canadian Court,

and the Foreign Representative in conducting the Canadian Proceedings and effectuating the

restructuring under Canadian law may be frustrated, a result contrary to the purposes of chapter 15

of the Bankruptcy Code.

               D.       Based on the affidavits of service filed with, and representations made to,

this Court: (i) notice of the Motion was proper, timely, adequate, and sufficient under the

circumstances of these chapter 15 cases and these proceedings and complied with the various

applicable requirements of the Bankruptcy Code and the Bankruptcy Rules; and (ii) no other or

further notice of the Motion, the Sale Hearing, the Sale, or the entry of this Order is necessary or

shall be required.

               E.       All creditors and other parties in interest, including the Debtors, are

sufficiently protected by the grant of relief ordered hereby.

               IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

               1.       The Motion is GRANTED.

               2.       The CCAA SISP Order is recognized in full and given full force and effect

in the United States.

               3.       The Sales Procedures, including all deadlines and requirements therein as

set forth in the CCAA SISP Order, are hereby fully recognized and given full force and effect in

the United States, including as bidding procedures for the sale of assets and/or equity of the

Debtors located in the territorial jurisdiction of the United States, and shall apply with respect to

parties located in the United States.

               4.       The provisions of the CCAA SISP Order that authorized and approved the

Debtors’ entry into the Stalking Horse Purchase Agreement, on the terms set forth in the CCAA




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SISP Order, is recognized by this Court and is enforceable within the territorial jurisdiction of the

United States.

                 5.    The Debtors and any party to the Stalking Horse Purchase Agreement may

exercise the respective rights and remedies available to them under the Stalking Horse Purchase

Agreement in the territorial jurisdiction of the United States, respectively and as applicable, in

accordance with the terms thereof and the CCAA SISP Order, but only to the extent approved by

the CCAA SISP Order.

                 6.    The failure specifically to include any particular provision of the CCAA

SISP Order in this Order shall not diminish or impair the effectiveness of such provision.

                 7.    Nothing in this Order ratifies, approves, and/or recognizes the sale and/or

vesting of any property pursuant to the Stalking Horse Purchase Agreement, and all rights, claims,

objections, and interests of any interested party, at law or in equity, with respect to the proposed

sale and vesting of property pursuant to the Stalking Horse Purchase Agreement or Successful Bid

(as defined in the Sales Procedures) are not waived and are expressly preserved and may be

asserted in the Canadian Proceedings in accordance with the applicable rules and procedures

applicable in the Canadian Court.

                 8.    The Sale Hearing shall be held in this Court on December 4, 2023 at 10:30

a.m. (ET), unless otherwise determined by this Court. The Sale Hearing may be adjourned by the

Foreign Representative, from time to time without further notice to creditors or other parties in

interest other than by announcement of the adjournment in open court on the date scheduled for

the Sale Hearing, or by filing a hearing agenda or notice on the docket of the above-captioned

cases.




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               9.      The CCAA DIP Increase Order is recognized in full and given full force

and effect in the United States.

               10.     The CCAA Sealing Order is recognized in full and given full force and

effect in the United States.

               11.     The CCAA Stay Extension Order is recognized in full and given full force

and effect in the United States.

               12.     All persons and entities subject to the jurisdiction of the United States are

permanently enjoined and restrained from taking any actions inconsistent with, or interfering with

the enforcement and implementation of, the CCAA Orders or any documents incorporated by the

foregoing.

               13.     The Foreign Representative is authorized to take all actions it deems

necessary to effectuate the relief granted pursuant to this Order in accordance with the Motion and

the CCAA Orders.

               14.     All objections to the entry of this Order that have not been withdrawn,

waived, or settled, or otherwise resolved pursuant to the terms hereof, are denied and overruled on

the merits, with prejudice.

               15.     Notwithstanding any provision in the Bankruptcy Rules to the contrary, the

terms of this Order shall be immediately effective and enforceable upon its entry.

               16.     Other than as explicitly set forth herein, this Court shall retain jurisdiction

with respect to any and all matters, claims, rights, or disputes arising from or related to the

implementation or interpretation of this Order.




      Dated: October 27th, 2023                       LAURIE SELBER SILVERSTEIN
      Wilmington, Delaware                            UNITED STATES BANKRUPTCY JUDGE

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                    EXHIBIT 1

      CCAA SISP Order and Endorsement
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                IN TE E MATTER OF THE COMPANIES'CREDITORS ARRANGEMENT ACT, R.S.C. 1985,
                 C\                       c.C-36 AS AMENDED
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                              »IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
                              HTHOUSE IMMERSIVE INC. AND LIGHTHOUSE IM MERSIVE USA, INC.

                y                                       ORDER
                §(Ap groval of Sale and Investment Solicitation Process and Stalking Horse Agreement)
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isiafeES       S£    “THIS MOTION, made by the Applicants, pursuant to the Companies’ Creditors

               Arrangement Act, R.S.C. 1985, c. C-36, as amended, (the “CCAA”) for an order, among other

               things, (i) approving the sale and investment solicitation process (the “SISP”) described in

               Schedule “A” hereto, including the Stalking Horse Agreement; and (ii) authorizing B. Riley

               Farber Inc., in its capacity as Monitor of the Applicants (the “Monitor”) to conduct the SISP,

               was heard this day by Zoom video conference.


                         ON READING the Motion Record of the Applicants dated October 5, 2023, the

               Responding Motion Record of LHIMP (ABC), LLC (“ABC”)., dated October 11, 2023, the first

               report of the Monitor dated August 1, 2023 (the “First Report”), the second report of the

               Monitor dated October 5, 2023 (the “Second Report”), and upon hearing the submissions of

               counsel for the Applicants, counsel for SCS Finance, Inc. (the “DIP Lender”), counsel for ABC,

               counsel for Massimiliano Siccardi, counsel for the Monitor, and counsel for the shareholders of




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                 the Applicants, no one appearing for any other party although duly served as appears from the

                 affidavit of service of Gina Rhodes dated October 5, 2023, filed.


                 SERVICE AND DEFINITIONS


                 1.        THIS COURT ORDERS that the time for service of the Notice of Motion and Motion

                 Record is abridged and validated such that this Motion is properly returnable today, and further

                 service of the Notice of Motion and the Motion Record is hereby dispensed with.


                 2.        THIS COURT ORDERS that capitalized terms used in this Order and not otherwise

                 defined herein shall have the meaning ascribed to them under the SISP.


                 APPROVAL OF THE SISP AND STALKING HORSE AGREEMENT


                           ■THIS COURT ORDERS that the SISP attached hereto as Schedule “A” to this Order

                 ahd the procedures contemplated therein be and are hereby approved.


                           THIS COURT ORDERS that the Monitor is authorized and directed to take such steps,

                 ftf^beh ilf of the Applicants, as it deems necessary or advisable to carry out and perform its
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                           THIS COURT ORDERS that the SISP may be amended and the timelines prescribed

        0^0 tSfii-ein ffiay be extended by the Monitor with the approval of the Applicants.


                 6.        THIS COURT ORDERS that the Monitor and its respective affiliates, partners,

                employees, representatives and agents shall have no liability with respect to any and all losses,

                claims, damages or liabilities, of any nature or kind, to any person in connection with or as a

                result of the SISP, except to the extent such losses, claims, damages or liabilities result from the




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                 gross negligence or willful misconduct of the Monitor in performing its obligations under the

                 SISP as determined by this Court.


                 7.        THIS COURT ORDERS that the Monitor and the Applicants and their respective

                 counsel be and are hereby authorized but not obligated, to serve or distribute this SISP Order,

                 any other materials, orders, communication, correspondence or other information as may be

                 necessary or desirable in connection with the SISP to any Person (as defined in the Initial Order

                 dated July 27, 2023, as amended and restated) or interested party that the Monitor or the

                Applicants considers appropriate. For greater certainty, any such distribution, communication or

                                 idence shall be deemed to be in satisfaction of a legal or juridical obligation, and notice
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                reflu ireipents within the meaning of clause 3(c) of the Electronic Commerce Protection

                 Regulations, Reg. 81000-2-175 (SOR/DORS).
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                           THIS COURT ORDERS that, pursuant to clause 7(3)(c) of the Canada Personal

                          ii’tion Protection and Electronic Documents Act, the Monitor and the Applicants are

                           authorized and permitted to disclose and transfer to each potential bidder (collectively,
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                           ^ntial Bidders”) and to their advisors, if requested by such Potential Bidders, personal
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                 information of identifiable individuals, including, without limitation, all human resources and

                payroll information in the Applicants’ records pertaining to its past and current employees, but

                only to the extent desirable or required to negotiate or attempt to complete a sale of the Property

                (“Sale”) or investment in the Business (“Investment”). Each Potential Bidder to whom such

                personal information is disclosed shall maintain and protect the privacy of such information and

                limit the use of such information to its evaluation of the Sale or Investment, and if it does not

                complete a Sale or Investment, shall return all such information to the Monitor and the

                Applicants, or in the alternative destroy all such information. The Successful Bidder(s) shall



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            maintain and protect the privacy of such information and, upon closing of the transaction

            contemplated in the Successful Bid(s), shall be entitled to use the personal information provided

           to it that is related to the Property or Business acquired pursuant to the Sale or invested in

            pursuant to the Investment in a manner which is in all material respects identical to the prior use

           of such information by the Applicants, and shall return all other personal information to the

            Monitor and the Applicants, or ensure that all other personal information is destroyed.


            9.        THIS COURT ORDERS that the Stalking Horse Agreement executed by SCS Finance,

            Inc. (the “Stalking Horse Bidder”) dated as of October 5, 2023, substantially in the form

           attached to the Second Report (the “Stalking Horse Agreement”) be and is hereby approved.


           GENERAL


            10.      THIS COURT ORDERS that the Applicants or the Monitor may from time to time

           apply to this Court for advice and directions in the discharge of their powers and duties

           hereunder.


            11.       THIS COURT HEREBY REQUESTS the aid and recognition of any court, tribunal,

           regulatory or administrative body having jurisdiction in Canada, the United States or elsewhere,

           to give effect to this Order and to assist the Applicants, the Monitor and their respective agents in

           carrying out the terms of this Order. All courts, tribunals, regulatory and administrative bodies

           are hereby respectfully requested to make such orders and to provide such assistance to the

           Applicants and to the Monitor, as an officer of this Court, as may be necessary or desirable to

           give effect to this Order, to grant representative status to the Monitor in any foreign proceeding,

           or to assist the Applicants and the Monitor and their respective agents in carrying out the terms
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             12.          THIS COURT ORDERS that each of the Applicants and the Monitor be at liberty and is

            hereby authorized and empowered to apply to any court, tribunal, regulatory or administrative

            body, wherever located, for the recognition of this Order and for assistance in carrying out the

            terms of this Order, and that the Monitor is authorized and empowered to act as a representative

            in respect of the within proceedings for the purpose of having these proceedings recognized in a

            jurisdiction outside Canada.


            13.           THIS COURT ORDERS that this Order is effective from the date that it is made and is

            enforceable without any need for entry and filing.
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                                                             SCHEDULE A
                                                (Sale and Investment Solicitation Process)




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                                           Sale and Investment Solicitation Process
                                Lighthouse Immersive Inc. and Lighthouse Immersive USA Inc.

            Introduction

            1.        On July 27, 2023, Lighthouse Immersive Inc. and Lighthouse Immersive USA Inc.
                      (together, the “Applicants”) were granted an initial order (as amended or amended and
                      restated from time to time, the “Initial Order”) under the Companies’ Creditors
                      Arrangement Act (the “CCAA” and the “CCAA Proceedings”) by the Ontario Superior
                       Dourt of Justice (the “CCAA Court”). The Initial Order (which was amended and
                       Instated on August 3, 2023), among other things:
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         a                      stayed all proceedings against the Applicants, their assets and their respective
                                directors and officers;
                        b)      appointed B. Riley Farber Inc. as the monitor of the Applicants (in such capacity,
                                the “Monitor”);
                        c)      authorized the Applicants to enter into a debtor-in-possession financing facility
                                with SCS Finance, Inc. (“SCS”) pursuant to a Term Sheet dated July 26, 2023
                                (the ”1)11’ Term Sheet"), as well as the related charge in favour of the 1)11’
                                Lender (the “DIP Charge”) over all of the Applicants’ present and future assets,
                                property and undertakings of every nature and kind whatsoever, and wherever
                                situate including all proceeds thereof to secure the amounts outstanding under or
                                in connection with the DIP Facility: and
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                                authorized the Applicants to pursue all avenues of sale or investment of their
                                assets or business, in whole or in part, subject to prior approval of the Court
                                before any material sale or refinancing.

           2.         Pursuant to proceedings (the “Chapter 15 Proceedings”, and together with the CCAA
                      Proceedings, the “Insolvency Proceedings”) commenced in the United States
                      Bankruptcy Court for the District of Delaware (the “US Bankruptcy Court”, and
                      together with the CCAA Court, the “Insolvency Courts”) under Chapter 15, Title 11, of
                      the United States Code (the “US Bankruptcy Code”), the Applicants obtained, among
                      other things, recognition of the CCAA Proceedings.

           3.         Further to the Applicants’ restructuring efforts and the terms of the DIP Facility, the
                      Monitor will conduct the sale and investment solicitation process (the “SISP”) described
                      herein, with the assistance of the Applicants, and pursuant to the Order of the CCAA
                      Court dated [October •, 2023] (the “SISP Order”). The SISP is intended to solicit
                      interest in an acquisition or refinancing of the business or a sale of the assets and/or the
                      business of the Applicants by way of merger, reorganization, recapitalization, primary
                      equity issuance or other similar transaction. The Monitor intends to provide all qualified
                      interested parties with an opportunity to participate in the SISP.

           4.         The SISP Order also approves the stalking horse agreement between the Applicants and
                      SCS Finance, Inc. (in such capacity, the “Stalking Horse Bidder”) dated October 5,
                      2023 (as may be amended from time to time, the “Stalking Horse Agreement”), under




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                      which the Stalking Horse Bidder agreed to purchase substantially all of the Applicants’
                      assets and business operations, and act as the stalking horse bid in the SISP (the
                      “Stalking Horse Bid”). The Stalking Horse Bid shall automatically be considered a
                      Qualified Bid (as defined herein) for the purposes of the Auction (as defined herein).

            Opportunity

            5.        The SISP is intended to solicit interest in, and opportunities for, a sale of, or investment
                      in, all or part of the Applicants’ assets and business operations (the “Opportunity”). The
                      Opportunity may include one or more of a restructuring, recapitalization or other form or
                      reorganization of the business and affairs of the Applicants as a going concern or a sale of
                      all, substantially all or one or more components of the Applicants' assets (the
                      “Property”) and business operations (the “Business”) as a going concern or otherwise,
                      or some combination thereof (each, a “Transaction”).

            6.        This document describes the SISP, including the manner in which individuals,
                      corporations, limited and unlimited liability companies, general and limited partnerships,
                      associations, trusts, unincorporated organizations, joint ventures, governmental
                      organizations or other entities (each, a “Person”) may gain access to or continue to have
                      access to due diligence materials concerning the Applicants, the Property and the
                      Business, how bids involving the Applicants, the Property or the Business will be
                      submitted to and dealt with by the Monitor and how Court approval will be obtained in
                      respect of a Transaction.

            7.        The SISP contemplates a one-stage process that involves the submission by interested
                      parties of binding offers by the Bid Deadline (as defined below).

            8.        Except to the extent otherwise set forth in a definitive sale or investment agreement with
                      a successful bidder, any Transaction will be on an “as is, where is” basis and without
                      surviving representations or warranties of any kind, nature, or description by the Monitor,
                      the Applicants, or any of their respective agents, advisors or estates, and, in the event of a
                      sale, all of the right, title and interest of the Applicants in and to the Property to be
                      acquired will be sold free and clear of all pledges, liens, security interests, encumbrances,
                      claims, charges, options, and interests therein and thereon pursuant to Court orders, to the
                      extent that the Court deems it appropriate to grant such relief and except as otherwise
                      provided in such Court orders.

           9.         In the SISP, (i) “Business Day” means any day (other than Saturday or Sunday) that
                      banks are open for business in Toronto, Ontario. If any deadline date referred to in the
                      SISP falls on a day that is not a Business Day, then such date shall be extended until the
                      next Business Day; and (ii) the words “include”, “includes” and “including” shall be
                      deemed to be followed by the phrase, “without limitation”.

           Timeline

            10.       The following table sets out the key milestones undertheSlSP;                        LAMENT AT ifST SUE CE
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                                         Milestone                                     Deadline
                                 Commencement Date                    Immediately following the granting of the
                                                                                      SISP Order
                             Recognition of SISP in US                Immediately following the granting of the ,
                                 Bankruptcy Court                             SISP Order, subject to availability
                                                                                                                                     8
                                                                                 of the US Bankruptcy Court            »^l3pOO

                                       Bid Deadline                    November 15, 2023 at 5:00 p.m. (EST)
                                                                                                                   J;
                                       Auction Date                    November 17, 2023 at 5:00 p.m. (EST)
                                                                                                                  Ji
                         Sale Approval Motion (as defined             No later than November 24, 2023, subject
                              below) in CCAA Court                             to the availability of the CCAA
                                                                                             Court                 !f
                            Sale Approval Motion in US                Immediately following the granting of the 4                    <_
                                 Bankruptcy Court                             Sale Approval Motion, subject to •:                    £
                                                                                                                      zwq.oxq o
                                                                              availability of the US Bankruptcy ; oex z5»-»-5z

                              Closing of the Transaction
                                                                                             Court
                                                                         As soon as reasonably practicable
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                                                                              following the granting of the Sale Os£ m   uju-azg
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                                                                                 Approval Motion in the US
                                                                                      Bankruptcy Court

            11.       Subject to any order of the Court, the dates set out in the SISP may be extended by the
                      Monitor with the consent and approval of the Applicants.

            Solicitation of Interest: Notice of the SISP

            12.       As soon as reasonably practicable:
                      (a)       the Monitor, in consultation with the Applicants, will prepare a list of potential
                                bidders, including (i) parties that have approached the Applicants or the Monitor
                                indicating an interest in the Opportunity, and (ii) local and international strategic
                                and financial parties who the Applicants, in consultation with the Monitor, believe
                                may be interested in a Transaction pursuant to the SISP, in each case whether or
                                not such party has submitted a letter of intent or similar document (collectively,
                                “Known Potential Bidders”);
                      (b)       the Monitor will arrange for a notice of the SISP (and such other relevant
                                information which the Monitor, in consultation with the Applicants, considers
                                appropriate) (the “Notice”) to be published in Insolvency Insider, the Monitor’s
                                website, and any other newspaper or journal as the Applicants, in consultation
                                with the Monitor, consider appropriate, if any; and
                      (c)       the Monitor, in consultation with the Applicants, will prepare: (i) a process
                                summary (the “Teaser Letter”) describing the Opportunity, outlining the process
                                under the SISP and inviting recipients of the Teaser Letter to express their interest



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                                pursuant to the SISP; and (ii) a non-disclosure agreement in form and substance
                                satisfactory to the Applicants and the Monitor, and their respective counsel (an
                                “NDA”).

            13.        The Monitor will send the Teaser Letter and NDA to each Known Potential Bidder and to
                       any other Person who requests a copy of the Teaser Letter and NDA or who is identified
                       to the Applicants or the Monitor as a potential bidder as soon as reasonably practicable
                       after such request or identification, as applicable.

            Potential Bidders and Due Diligence Materials

            14.        Any party who wishes to participate in the SISP (a “Potential Bidder”), other than the
                       Stalking Horse Bidder, must provide to the Monitor an NDA executed by it, and which
                       shall inure to the benefit of any purchaser of the Business or Property, or any portion
                       thereof, and a letter setting forth the identity of the Potential Bidder, the contact
                       information for such Potential Bidder and full disclosure of the direct and indirect
                       principals of the Potential Bidder.

                    The Monitor, in consultation with the Applicants, shall in their reasonable business
                   judgment and subject to competitive and other business considerations, afford each
                 //Potential Bidder who has signed and delivered an NDA to the Monitor and provided
                 ^information
                 o              as to their financial wherewithal to close a transaction such access to due
                   diligence material and information relating to the Property and Business as the Applicants
                   or the Monitor deem appropriate. Due diligence shall include access to an electronic data
                   room containing information about the Applicants, the Property and the Business, and
                   may also include management presentations, on-site inspections, and other matters which
                   a Potential Bidder may reasonably request and as to which the Applicants, in their
                   reasonable business judgment and after consulting with the Monitor, may agree. The
                   Monitor will designate a representative to coordinate all reasonable requests for
                   additional information and due diligence access from Potential Bidders and the manner in
           O ~ r
                   which such requests must be communicated. Neither the Applicants nor the Monitor will
                  T"

           gfe    J?e obligated to furnish any information relating to the Property or Business to any person
                  Either than to Potential Bidders. Furthermore and for the avoidance of doubt, selected due
                  diligence materials may be withheld from certain Potential Bidders if the Applicants, in
           g£     ‘consultation with and with the approval of the Monitor, determine such information to
                   represent proprietary or sensitive competitive information. Neither the Applicants nor the
                   Monitor is responsible for, and will bear no liability with respect to, any information
                   obtained by any party in connection with the Sale of the Property and the Business.

            16.        Potential Bidders must rely solely on their own independent review, investigation and/or
                       inspection of all information and of the Property and Business in connection with their
                       participation in the SISP and any transaction they enter into with the Applicants.

           Formal Binding Offers

            17.        Potential Bidders that wish to make a formal offer to purchase or make an investment in
                       the Applicants or their Property or Business (a “Bidder”) shall submit a binding offer (a




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                      “Bid”) that complies with all of the following requirements to the Monitor and
                      Applicants’ counsel at the addresses specified in Schedule “1” hereto (including by e-
                      mail), so as to be received by them not later than 5:00 PM (EST) on November 15, 2023
                      or as may be modified in the Bid process letter that may be circulate by the Monitor to
                      Potential Bidders, with the approval of the Applicants (the “Bid Deadline”):
                      (a)       the Bid must be either a binding offer to:
                                 (i)       acquire all, substantially all or a portion of the Property (a “Sale
                                           Proposal”); and/or
                                (ii)       make an investment in, restructure, reorganize or refinance the Business or
                                           the Applicants (an “Investment Proposal”); or
                                (iii)      carry out any combination of a Sale Proposal and an Investment Proposal;
                      (b)       the Bid (either individually or in combination with other bids that make up one
                                bid) is an offer to purchase or make an investment in some or all of the Applicants
                                or their Property or Business and is consistent with any necessary terms and
                                conditions established by the Applicants and the Monitor and communicated to
                                Bidders;
                      (c)       the Bid includes a letter stating that the Bidder’s offer is irrevocable until the
                                selection of the Successful Bidder (as defined below), provided that if such
                                Bidder is selected as the Successful Bidder, its offer shall remain irrevocable until
                                the closing of the transaction with the Successful Bidder;
                                the Bid includes duly authorized and executed Transaction agreements, including
                                the purchase price, investment amount and any other key economic terms
                                expressed in US dollars (the “Purchase Price”), together with all exhibits and
                                schedules thereto;
                                the Bid is accompanied by a deposit (the “Deposit”) in the form of a wire transfer
                                (to a trust account specified by the Monitor), in an amount equal to ten percent
                                (10%) of the Purchase Price, investment amount or other consideration to be paid
                                in respect of the Bid, to be held and dealt with in accordance with this SISP;
                                the Bid includes written evidence of a firm, irrevocable commitment for financing
                                or other evidence of ability to consummate the proposed transaction, that will
                                allow the Applicants and the Monitor to make a determination as to the Bidder’s
                                financial and other capabilities to consummate the proposed transaction;
                      (g)       the Bid is not conditioned on (i) the outcome of unperformed due diligence by the
                                Bidder, or (ii) obtaining financing, but may be conditioned upon the Applicants
                                receiving the required approvals or amendments relating to the licences required
                                to operate the business, if necessary;
                      (h)       the Bid fully discloses the identity of each entity that will be entering into the
                                transaction or the financing, or that is otherwise participating or benefiting from
                                such bid;
                      (i)       for a Sale Proposal, the Bid includes:




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                                 (i)       the purchase price in US dollars and a description of any non-cash
                                           consideration, including details of any liabilities to be assumed by the
                                           Bidder and key assumptions supporting the valuation;
                                 (ii)      a description of the Property that is expected to be subject to the
                                           transaction and any of the Property expected to be excluded;
                                (iii)      a specific indication of the financial capability of the Bidder and the
                                           expected structure and financing of the transaction;
                                (iv)       a description of the conditions and approvals required to complete the
                                           closing of the transaction;
                                (v)        a description of those liabilities and obligations (including operating
                                           liabilities) which the Bidder intends to assume and which such liabilities
                                           and obligations it does not intend to assume; and
                                (vi)       any other terms or conditions of the Sale Proposal that the Bidder believes
                                           are material to the transaction.
                                for an Investment Proposal, the Bid includes:
                                (i)        a description of how the Bidder proposes to structure the proposed
                                           investment, restructuring, recapitalization, refinancing or reorganization,
                                           and a description of any non-cash consideration;
                                (ii)       the aggregate amount of the equity and/or debt investment to be made in
                                           the Business or the Applicants in US dollars;
                                (iii)      the underlying assumptions regarding the pro forma capital structure;
                                (iv)       a specific indication of the sources of capital for the Bidder and the
                                           structure and financing of the transaction;
                                (v)        a description of the conditions and approvals required for to complete the
                                           closing of the transaction;
                                (vi)       a description of those liabilities and obligations (including operating
                                           liabilities) which the Bidder intends to assume and which such liabilities
                                           and obligations it does not intend to assume; and
                                (vii)      any other terms or conditions of the Investment Proposal.
                      (k)       the Bid includes acknowledgements and representations of the Bidder that the
                                Bidder:
                                (i)        is completing the Transaction on an “as is, where is” basis;
                                (ii)       has had an opportunity to conduct any and all due diligence regarding the
                                           Property, the Business and the Applicants prior to making its Bid;
                                (iii)      has relied solely upon its own independent review, investigation and/or
                                           inspection of any documents and/or the Property in making its Bid; and
                                (iv)      did not rely upon any written or oral statements, representations,
                                          warranties, or guarantees whatsoever, whether express, implied, statutory
                                          or otherwise, regarding the Business, the Property, or the Applicants or the



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                                                       completeness of any information provided in connection therewith, except
                                                       as expressly stated in the definitive transaction agreement(s) signed by the
                                                       Applicants;
                                  (l)        the Bid is received by the Bid Deadline; and
                                  (m)        the Bid contemplates closing the Transaction set out therein immediately
                                             following the granting of the Sale Approval Order.

                          18.     Following the Bid Deadline, the Monitor will assess the Bids received. The Monitor, in
                                  consultation with the Applicants, will designate the most competitive bids that comply
                                  with the foregoing requirements to be “Qualified Bids”. No Bids received shall be
                                  deemed not to be Qualified Bids without the approval of the Monitor. Only Bidders
                                  whose bids have been designated as Qualified Bids are eligible to become the Successful
                                  Bidder(s).

                          19.     The Stalking Horse Bid shall be deemed to be a Qualified Bid.

                          20.     The Monitor may only designate a Bid as a Qualified Bid where the proposed purchase
                                  price is equal to or greater than that contained in the Stalking Horse Bid, and includes a
                                  cash purchase price in an amount equal to or greater than the Stalking Horse Bid, plus
                                  $50,000 US.

                          21.     The Monitor, in consultation with the Applicants, may waive strict compliance with any
                                  one or more of the requirements specified above and deem such non-compliant Bids to be
                                  a Qualified Bid. The Monitor and the Applicants will be under no obligation to negotiate
                                  identical terms with, or extend identical terms to, each Bidder.

pppigy-                          Jhe Monitor shall notify each Bidder in writing as to whether its Bid constituted a
                                 ^Qualified Bid within two (2) business days of the Bid Deadline, or at such later time as
                                 She Monitor deems appropriate.

                        - X 3.    The Monitor may, in consultation with the Applicants, aggregate separate Bids from
                                  unaffiliated Bidders to create one Qualified Bid.

                                 ition of Competing Bids

                         □4. X A Qualified Bid will be evaluated based upon several factors including,[, without
                                limitation: (i) the Purchase Price and the net value provided by such bid, (ii) the
                                                                                                                the identity,
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2-     o eu vc uj H-            circumstances and ability of the Bidder to successfully complete such Transactions, (iii)
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                                the proposed Transaction documents, (iv) factors affecting the speed, certainty and value
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                        fl    gjf the Transaction, (v) the assets included or excluded from the bid, (vi) any related
                               Restructuring costs, and (vii) the likelihood and timing of consummating such
                              ■ Transaction, each as determined by the Applicants and the Monitor.

                         Auction

                         25.      If the Monitor receives at least one additional Qualified Bid in addition to the Stalking
                                  Horse Bid, the Monitor will conduct and administer an Auction in accordance with the



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                      terms of this SISP (the “Auction”). Instructions to participate in the Auction, which will
                      take place via video conferencing, will be provided to Qualified Parties (as defined
                      below) not less than 24 hours prior to the Auction.

            26.       Only parties that provided a Qualified Bid by the Bid Deadline, as confirmed by the
                      Monitor, including the Stalking Horse Bid (collectively, the “Qualified Parties”), shall
                      be eligible to participate in the Auction. No later than 5:00 p.m. (EST) on the day prior to
                      the Auction, each Qualified Party must inform the Monitor whether it intends to
                      participate in the Auction. The Monitor will promptly thereafter inform in writing each
                      Qualified Party who has expressed its intent to participate in the Auction of the identity
                      of all other Qualified Parties that have indicated their intent to participate in the Auction.
                      If no Qualified Party provides such expression of intent, the Stalking Horse Bidder shall
                      be the Successful Bid (as defined below).

            Auction Procedure

            27.       The Auction shall be governed by the following procedures:
                      (a)       Participation at the Auction. Only the Applicants, the Qualified Parties,
                                including the Stalking Horse Bidder, the Monitor and each of their respective
                                advisors will be entitled to attend the Auction, and only the Qualified Parties will
                                be entitled to make any subsequent Overbids (as defined below) at the Auction.
                                The Monitor shall provide all Qualified Bidders with the details of the lead bid by
                                5:00 PM (EST) two (2) Business Days after the Bid Deadline. Each Qualified
                                Bidder must inform the Monitor whether it intends to participate in the Auction no
                                later than 5:00 PM (EST) on the Business Day prior to the Auction;
                      (b)       No Collusion. Each Qualified Party participating at the Auction shall be required
                                to confirm on the record at the Auction that: (i) it has not engaged in any collusion
                                with respect to the Auction and the bid process; and (ii) its bid is a good-faith
                                bona fide offer and it intends to consummate the proposed transaction if selected
                                as the Successful Bid;
                                Minimum Overbid. The Auction shall begin with the Qualified Bid that
                                represents the highest or otherwise best Qualified Bid as determined by the
                                Monitor, in consultation with the Applicants (the “Initial Bid”), and any bid made
                                at the Auction by a Qualified Party subsequent to the Monitors announcement of
                                the Initial Bid (each, an “Overbid”), must proceed in minimum additional cash
                                increments of $ 100,000 US;
                                Bidding Disclosure. The Auction shall be conducted such that all bids will be
                                made and received in one group video-conference, on an open basis, and all
                                Qualified Parties will be entitled to be present for all bidding with the
                                understanding that the true identity of each Qualified Party will be fully disclosed
                                to all other Qualified Parties and that all material terms of each subsequent bid
                                will be fully disclosed to all other Qualified Parties throughout the entire Auction;
                                provided, however, that the Monitor, in its discretion, may establish separate
                                video conference rooms to permit interim discussions between the Monitor and




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                                    individual Qualified Parties with the understanding that all formal bids will be
                                    delivered in one group video conference, on an open basis;
                      (e)           Bidding Conclusion. The Auction shall continue in one or more rounds and will
                                    conclude after each participating Qualified Party has had the opportunity to
                                    submit one or more additional bids with full knowledge and written confirmation
                                    of the then-existing highest bid(s); and
                      (f)           No Post-Auction Bids. No bids will be considered for any purpose after the
                                    Auction has concluded.
                      (g)           Auction Procedures. The Monitor shall be at liberty to set additional procedural
                                    rules at the Auction as it sees fit.

            Selection of Successful Bid

            28.       Before the conclusion of the Auction, the Monitor, in consultation with the Applicants,
                      will:
                      (a)           review and evaluate each Qualified Bid, considering the factors set out in
                                    paragraph 17 and any other factor that the Applicants or the Monitor may
                                    reasonably deem relevant, provided that each Qualified Bid may be negotiated
                                    among the Monitor in consultation with the Applicants and the Qualified Bidder,
                                    and may be amended, modified or varied to improve such Qualified Bid as a
                                    result of such negotiations; and
                      (b)           identify the highest or otherwise best bid received at the Auction (the “Successful
                                    Bid” and the Qualified Party making such bid, the “Successful Party”).




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                29.       The Successful Party shall complete and execute all agreements, contracts, instruments or
                          other documents evidencing and containing the terms and conditions upon which the
                          Successful Bid was made within one business day of the Successful Bid being selected as
                          such, unless extended by the Monitor, in consultation with the Applicants, subject to the
                          milestones set forth in paragraph 10.

                Sale Approval Motion Hearing

                30.       At the hearing of the motion to approve any transaction with a Successful Party (the
                          “Sale Approval Motion”), the Monitor or the Applicants shall seek, among other things,
                          approval from the Court to consummate any Successful Bid. All the Qualified Bids other
                          than the Successful Bid, if any, shall be deemed to be rejected by the Monitor and the
                          Applicants on and as of the date of approval of the Successful Bid by the Court.

                Confidentiality and Access to Information

                31.   All discussions regarding a Sale Proposal, Investment Proposal, or Bid should be directed
                      through the Monitor. Under no circumstances should the management of the Applicants
                      be contacted directly without the prior consent of the Monitor. Any such unauthorized
                      contact or communication could result in exclusion of the interested party from the SISP
                    j process.
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flftps 3       B2./ o Participants and prospective participants in the SISP shall not be permitted to receive any
                      information that is not made generally available to all participants relating to the number
                      or identity of Potential Bidders, Bidders, Qualified Bids, the details of any Bids submitted
     »JU .                   detai*s °f any confidential discussions or correspondence between the Applicants,
                      the Monitor and such other bidders or Potential Bidders in connection with the SISP,
                      except to the extent the Applicants, with the approval of the Monitor and consent of the
                      applicable participants, are seeking to combine separate bids from Qualified Bidders.

  Jgggg jSupcivision of the SISP
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                         The Monitor shall oversee and conduct the SISP, in all respects, and, without limitation
                        So that supervisory role, the Monitor will participate in the SISP in the manner set out in
               5g
                        ^this SISP Procedure, the SISP Order, the Initial Order and any other orders of the Court,
                        “and is entitled to receive all information in relation to the SISP.

                34.       This SISP does not, and will not be interpreted to create any contractual or other legal
                          relationship between the Applicants or the Monitor and any Potential Bidder, any
                          Qualified Bidder or any other Person, other than as specifically set forth in a definitive
                          agreement that may be entered into with the Applicants.

                35.       Without limiting the preceding paragraph, the Monitor shall not have any liability
                          whatsoever to any person or party, including without limitation any Potential Bidder,
                          Bidder, the Successful Bidder, the Applicants, the DIP Lender, or any other creditor or
                          other stakeholder of the Applicants, for any act or omission related to the process
                          contemplated by this SISP Procedure, except to the extent such act or omission is the
                          result from gross negligence or wilful misconduct of the Monitor. By submitting a bid,



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                      each Bidder, or Successful Bidder shall be deemed to have agreed that it has no claim
                      against the Monitor for any reason whatsoever, except to the extent that such claim is the
                      result of gross negligence or wilful misconduct of the Monitor.

            36.       Participants in the SISP are responsible for all costs, expenses and liabilities incurred by
                      them in connection with the submission of any Bid, due diligence activities, and any
                      further negotiations or other actions whether or not they lead to the consummation of a
                      Transaction.

            37.       The Monitor, in consultation with the Applicants, shall have the right to modify the SISP
                      (including, without limitation, pursuant to the Bid process letter) if, in their reasonable
                      business judgment, such modification will enhance the process or better achieve the
                      objectives of the SISP; provided that the Service List in these CCAA proceedings shall be
                      advised of any substantive modification to the procedures set forth herein.

            Deposits

            38.       All Deposits received pursuant to this SISP shall be held in trust by the Monitor. The
                      Monitor shall hold Deposits paid by each of the Bidders in accordance with the terms
                      outlined in this SISP. In the event that a Deposit is paid pursuant to this SISP and the
                      Monitor elects not to proceed to negotiate and settle the terms and conditions of a
                      definitive agreement with the Person that paid such Deposit, the Monitor shall return the
                      Deposit to that Person. In the event that the Successful Bidder defaults in the payment or
                      performance of any obligations owed to the Monitor or the Applicants pursuant to any
                      Final Agreement, the Deposit paid by the Successful Bidder, as applicable, shall be
                      forfeited as liquidated damages and not as a penalty.



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                                                                      Schedule “1”


                                                                 Address of Monitor


            To the Monitor:
            B. Riley Farber Inc.
            150 York Street, Suite 1600
            Toronto, ON, Canada, M5H 3S5
            Attention:    Allan Nackan, Hylton Levy, Rob Biehler
            Email:        anackan@brilevfln.com
                          hlevy@brileyfin.com
                          rbiehler@brileyfln.com

            with a copy to:
            Miller Thomson LLP
            Scotia Plaza
            40 King Street West, Suite 5800
            P.O. Box 1011
            Toronto, Ontario M5H 3S1

            Attention:          Kyla Mahar and Gina Rhodes
            Email:              kmahar« millerthomson.com
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                                          SUPERIOR COURT OF JUSTICE

                                  COUNSEL SLIP/ENDORSEMENT
 COURT FILE NO.:       CV-23-00703509-00CL                         DATE: October 13th, 2023
                                                                   REGISTRAR:                  Tiana Khan

                                                                                          NO. ON LIST:        1
 TITLE OF PROCEEDING:                     LIGHTHOUSE IMMERSIVE INC. AND
                                   LIGHTHOUSE IMMERSIVE USA, INC. v SICCARDI et al
 BEFORE:               Justice Cavanagh



 PARTICIPANT INFORMATION


For Plaintiff, Applicant, Moving Party, Crown:

    Name of Person Appearing                        Name of Party                        Contact Info
 MAHAR, KYLA                             Counsel for the applicants            kmahar@millerthomson.com
 RHODES, GINA                            Counsel for the applicants            grhodes@millerthomson.com
 MANN, TAMMY                             US counsel to the Applicants          tmann@morrisnichols.com



For Defendant, Respondent, Responding Party, Defence:

     Name of Person Appearing                       Name of Party                          Contact Info
 KENNEDY, REBECCA                        Counsel for the Monitor               Rkennedy@tgf.ca
 GASPAR, MARCO                                                                 MGaspar@tgf.ca
 ULLMAN, DAVID                           Dvoretsky Holdings Inc.               Dullmann@blaney.com
 CHAITON, HARVEY                         Massimiliano Siccardi                 Harvey@chaitons.com
 LARRY, JEFFREY                          LHIMP (ABC), LLP                      Jeff.larry@paliareroland.com
 SHAH, RYAN                                                                    Ryan.shah@paliareroland.com


For Other, Self-Represented:

     Name of Person Appearing                       Name of Party                          Contact Info
 NACKAN, ALLAN                           Monitor                               anackan@brileyfin.com
 BIEHLER, ROB                            Monitor                               rbiehler@brileyfin.com
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ENDORSEMENT OF JUSTICE CAVANAGH

[1]     Lighthouse Immersive Inc. (“Lighthouse”) and Lighthouse Immersive USA, Inc. (“Lighthouse USA” and together with
Lighthouse, the “Applicants”) were granted creditor protection under the CCAA on July 27, 2023.

[2]      The Applicants bring this motion seeking approval of a sale and investment solicitation process (“SISP”) with a
stalking horse agreement. The Applicants seek (a) approval of the SISP; (b) approval of a Stalking Horse Agreement dated
October 5, 2023 entered into between the DIP Lender, SCS Finance, Inc. (“SCS”) and the Applicants (the “Stalking Horse
Agreement”); and (c) approval of an increase of the authorized borrowings under the DIP Facility from the principal amount
of U.S. $3,500,000 to U.S. $4,000,000 (plus interest, fees and expenses).

[3]     Lighthouse is a private corporation formed under the laws of Ontario for the purpose of carrying on the business
of producing and operating exhibits that use light and projection technology to allow visitors to immerse themselves in the
exhibit and experience the exhibit in a novel way. Lighthouse USA is a private corporation formed under the laws of
Delaware that carries on the same business as Lighthouse for exhibits located in the United States.

[4]      LHIMP (ABC), LLC (“ABC”) is a Delaware limited liability company formed on June 23, 2023. On August 18, 2023,
ABC took a general assignment for the benefit of creditors of LHIM Productions LLC’s (LHIM”) assets, including LHIM’s USD
$16.6 million claim against Lighthouse USA. ABC is the largest arm’s-length creditor of Lighthouse USA. LHIM is a Delaware
limited liability company formed in 2021 to carry out a joint venture between Lighthouse USA and Impact Museums, Inc.
a/k/a Impact Museums, LLC (“Impact”).

[5]     ABC opposes the Applicant’s motion for approval of the SISP and approval of the Stalking Horse Agreement. ABC
takes no position on the request for an increase in the DIP facility.

Should the SISP and the Stalking Horse Agreement be approved?

[6]     The remedial nature of the CCAA confers broad jurisdictional courts to approve a SISP, including a “stalking horse”
sale process, in respect of the business or assets of an applicant, prior to or in the absence of a plan of compromise or
arrangement.

[7]     The Monitor reports that since the granting of the Amended and Restatement Initial Order, the Applicants have
worked with the Monitor to develop the SISP to canvass the market for an investment in, or a sale of, all or substantially all
of the Applicants’ property and business operations as a going concern or otherwise. The Monitor reports that the SISP was
developed in consultation with the Monitor, taking into account the financial circumstances of the Applicants and the
amount of financing available under the DIP Term Sheet (if the authorized borrowing limit is approved by the Court).

[8]      The SISP contemplates a one-phase process which will be administered by the Monitor, in consultation with the
Applicants, with the following milestone dates: (1) Commencement Date - immediately following the granting of the SISP
Order; (2) Recognition of SISP in U.S. Bankruptcy Court - immediately following the granting of the SISP Order, subject to
availability of the U.S. Bankruptcy Court; (3) Bid Deadline - November 15, 2023 at 5:00 PM (EST); (4) Auction Date -
November 17, 2023 of 5:00 PM (EST); (5) Sale Approval Motion in CCAA Court - No later than November 24, 2023, subject
to availability of the CCAA Court; (6) Sale Approval Motion in U.S. Bankruptcy Court - Immediately following the granting of
the Sale Approval Motion, subject to availability of the U.S. Bankruptcy Court; (7) Closing of the transaction - As soon as
reasonably practicable following the granting of the Sale Approval Motion in the U.S. Bankruptcy Court.

[9]     If the SISP is approved, the Monitor will send a teaser document and a non-disclosure agreement to all known
potential bidders and any other interested parties upon request. The Monitor will also post the SISP Order and SISP on the
Monitor’s website and will publish a notice of the SISP in Insolvency Insider, along with any other appropriate newspaper
or journal. All interested persons that have executed an NDA will have access to an electronic data room containing
information about the Applicants and the business.

[10]     By the bid deadline, potential bidders must submit a binding offer to purchase or make an investment in the
Applicants or their property or business to the Monitor. To be considered a Qualified Bid, the bid must be either a binding
offer for: (a) a sale proposal; (b) investment proposal; or (c) a combination of a sale proposal and an investment proposal.
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[11]     A bid must also be accompanied by a deposit in an amount equal to 10% of the purchase price, investment amount
or other consideration to be paid. The Monitor may only designate a bid as a Qualified Bid if the proposed purchase price
is equal to or greater than that contained in the Stalking Horse Bid, and includes a cash purchase price in an amount equal
to or greater than the Stalking Horse Bid, plus $50,000.

[12]    If the Monitor receives at least one additional Qualified Bid, in addition to the Stalking Horse Bid, the Monitor will
conduct and administer an auction to determine the successful bid, in accordance with the terms of the SISP. The closing
of any sale of or investment in the Applicants’ business will be conditional on Court approval.

[13]   The Monitor, on behalf of the Applicants, negotiated and authorized the entering into of the Stalking Horse
Agreement between the Applicants and SCS (in such capacity, the “Stalking Horse Bidder”), subject to Court approval.
Pursuant to the Stalking Horse Agreement, the Stalking Horse Bidder has agreed to acquire substantially all of the assets of
the Applicants.

[14]      Under the proposed Stalking Horse Agreement, the purchase price will be made up of (i) an amount required to
satisfy priority payables, subject to adjustment at closing; (ii) a credit bid amount, estimated to be $4 million as at the closing
time; (iii) the aggregate amount of assumed liabilities. The closing date is targeted for the third business day following the
issuance of an Approval and Vesting Order with respect to the Stalking Horse Bid. SCS or its affiliates shall be offering
employment to all of the employees of the applicants conditional and effective on the closing and on terms and conditions
substantially similar to their respective terms and conditions of their employment with the companies, existing as of the
closing date. The Stalking Horse Bid does not include a break fee or expense reimbursement amount.

[15]    In exercising the powers to facilitate restructurings under the CCAA, the Court considers a number of factors in
connection with a request for approval of a SISP. These factors are described in Nortel Networks Corp., Re, [2009] OJ No.
3169, at para. 49. I address these factors:

             a. Is a sale transaction warranted at this time? The Applicants are unable to continue ordinary course of
                business operations without additional interim financing, as provided under the DIP Term Sheet. A sale or
                investment transaction is the only available means to obtain value for the Applicants’ stakeholders, other
                than a liquidation.

             b. Will the sale benefit the whole “economic community”? The Applicant submit that the SISP will benefit the
                whole economic community because it is designed to test the market by soliciting the best bids and
                providing flexibility with regard to the types of transactions that can be consummated, thereby maximize
                value for the applicants’ stakeholders. The Applicants submit that the process being undertaken by the
                Monitor will be a fair and transparent one that gives prospective purchasers the opportunity to complete
                due diligence and submit flexible, competitive bids prior to the bid deadline.

                 ABC does not submit that a liquidation of the assets of the Applicants is desirable. Nevertheless, ABC
                 opposes the SISP on the ground that the bid deadline is too soon for potential bidders to conduct due
                 diligence and put together a bid. ABC submits that there is no urgency necessitating an abridged SISP
                 process. ABC submits that the Court must balance the need to move quickly to address the deterioration
                 of the value of the business during a sale process with a realistic timetable that encourages and does not
                 chill the auction process. ABC points to the cash flow forecasts prepared by the Monitor for the Applicants
                 showing that the Applicants will have cash on hand until at least December 10, 2023. ABC submits that if
                 the SISP is to be approved, the Bid Deadline should be extended to 60 days from approval of the SISP.

                 ABC submits that the Applicants have failed to meaningfully reduce expenses and, as a result, they are
                 losing out on additional time that could be used to market their business and assets.

                 I do not accept ABC’s submissions with respect to the Bid Deadline. The Monitor reports that the SISP
                 (including a bid deadline of four weeks) is reasonable given (i) the continuing operating losses that the
                 Applicants are sustaining on a weekly basis; (ii) the Applicant’s operations have almost completely halted
                 besides one ongoing show in Lighthouse; (iii) the property and business is straightforward to understand
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                for potential purchasers; (iv) rent and costs to store redundant inventory and equipment are ongoing; and
                (v) the Applicant’s liquidity constraints as outlined in the revised cash flow forecast. The Monitor reports
                that the Applicants and the Monitor reached out to certain strategic investors who may be interested in a
                restructuring transaction with respect to the Applicants and, unfortunately, no potential transaction
                materialized from those discussions.

                The cash flow forecast will not accommodate a longer period for bids to be made. The Monitor’s view is
                that, although the period is a very short one, it is reasonable in the circumstances. I accept that in some
                other cases where an extremely abbreviated sale process was approved, there was evidence of a robust
                sale process before the request for approval of a SISP. In my view, each situation needs to be addressed
                having regard to its particular circumstances.

                I do not accept ABC’s submission that the Applicants have failed to manage costs and that this should be
                considered as a ground not to approve the SISP.

                When I engage in the balancing exercise of considering the need to move quickly given the financial
                constrains confronting the Applicants with an alternative of a longer time for bidders to make bids, I must
                face the fact that a longer period for bids is not a viable option. The Monitor has analyzed the alternative
                of a liquidation scenario and recommends the SISP as a superior path forward. I accept the Monitor’s
                assessment in this regard.

            c. Do any of the debtors’ creditors have a bona fide reason to object to a sale of the business? Although ABC
               opposes approval of the SISP, it does not contend that liquidation is a superior alternative or that it or other
               creditors will be better off in a liquidation. I am satisfied that, where liquidation is the only alternative to
               approval of the SISP, no creditor has a reasonable basis to object to the SISP as the best way to maximize
               value for creditors under the circumstances.

            d. Is there a better viable alternative? There is no better viable alternative.

[16]     Approval for the Stalking Horse Agreement is being sought for the purpose of the SISP. Courts have determined
that stalking horse bids are often a reasonable and useful element of the SISP. See, for example, Mustang GP Ltd. (RE), 2015
ON SC 6562, at paragraph 39.

[17]     The Monitor reports that the Stalking Horse Agreement will provide stability to the Applicants’ business and give
confidence to stakeholders (including customers, employees and suppliers) that a going concern outcome of the CCAA
proceedings will be achieved through the SISP. The Monitor reports that by providing a baseline purchase price and deal
certainty, the Stalking Horse Bid will not negatively impact the conduct of the SISP. The Monitor reports that the financial
terms of the Stalking Horse Purchase agreement are reasonable in the circumstances and provide a value greater than a
liquidation of the Applicants’ assets.

[18]     ABC submits that there is an insufficient evidentiary basis to approve the Stalking Horse agreement because there
is no record of marketing efforts by the Applicants or the Monitor and, accordingly, neither the Monitor nor the Court can
evaluate whether or not the Stalking Horse Bid is fair in the circumstances (either by having another stalking horse bid to
serve as a comparison or by demonstrating that there is no other interest to serve as stalking horse bidder). ABC contends
that competitors to the Applicants would, potentially, be the best candidates to serve as a stalking horse bidder, however,
the motion materials do not disclose evidence of any solicitation of competitors, such as Impact.

[19]   In support of this submission, ABC sites Boutique Euphoria inc., 2007 QCCS 7129. In Boutique, Gascon J.S.C. (as he
then was) addressed four considerations in assessing whether a stalking horse bid process should be approved.

[20]     The first consideration was whether there had been some control exercised at the first stage of the competition (to
become the stalking horse bidder) and to what extent. Justice Gascon, in addressing this consideration, noted that the
stalking horse bid establishes the benchmark to attract other bids and its accuracy is key to the integrity of the whole
process. He noted that the stalking horse bid is normally subject to a breakup fee and, therefore, it is even more important
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that it be accurate as calls for over bids will have to exceed a certain margin over and above the stalking horse bid. In this
case, the Monitor reports that upon issuance of the October 3, 2023 endorsement granting it expanded powers, it began
negotiating with SCS with respect to the Stalking Horse Agreement. The Monitor exercised control over the Applicants
following this endorsement and used its business judgment in negotiating it as being in the best interests of stakeholders
of the Applicants. As part of this process, the Monitor assessed at a high level the realizable value of the assets of the
Applicants in a liquidation scenario. In the circumstances, I am satisfied that the Monitor acted reasonably because to
undertake a longer process would have been practically impossible given the cash constraints confronting the Applicants.
In addition, the Stalking Horse Agreement does not include a break fee, so this is not a relevant consideration.

[21]    The second consideration identified by Gascon J. was whether there is a need for stability within a very short
timeframe for the debtor to continue operations and the restructuring contemplated to be successful. I am satisfied that
this consideration supports the Applicants’ request for approval of the Stalking Horse Agreement.

[22]    The third consideration identified by Gascon J. is whether the economic incentives for the stalking horse bidder, in
terms of breakup fee, topping fee and over bid increments protection, are fair and reasonable. There are no economic
incentives for the Stalking Horse Bidder, so this consideration does not need to be addressed on this motion.

[23]     The fourth consideration identified by Gascon J. Is whether the timelines contemplated are reasonable to ensure a
fair process at the second stage, namely, to become the successful over bidder. As I have noted, the Monitor reports that
the fairness of the process has been considered.

[24]     In my view, the considerations in Boutique as they apply in the circumstances of this motion, support approval of
the Stalking Horse Agreement.

[25]     ABC also cites the decision of Fitzpatrick J. in Freshlocal Solutions Inc. (Re), 2022 BCSC 1616. In Freshlocal, the
application judge approved a SISP save and except for approval of the stalking horse agreement. The secured lenders
strenuously objected to approval of the stalking horse agreement. The application judge considered that the secured
lenders stood to bear the brunt of the consequences of approval of the stalking horse agreement and their views were not
sufficiently taken into account by the monitor. The application judge also noted that there were troubling aspects of the
stalking horse agreement in terms of the financial compensation that is sought by the stalking horse bidder. The application
judge observed that marketing efforts had been undertaken and bidders were already conducting their own diligence, such
that little or no benefit would result from the stalking horse agreement. In my view, the facts in Freshlocal are
distinguishable from those on this motion.

[26]    ABC objects to inclusion in the property to be made available for sale of the Applicants’ claims against their
directors. ABC contends that to include these assets is unfair to arm’s length creditors and unnecessary. There is no evidence
that there are grounds for any such claims. It would be pure conjecture to attempt to assign a value to any such claims. I do
not decline to approve the SISP and the Stalking Horse Agreement for this reason.

[27]    I am satisfied that the Stalking Horse Agreement should be approved.

[28]     ABC asks for an order that it be granted access to all of the due diligence materials of the Applicants without
providing the Monitor with “financial wherewithal to close a transaction. The Monitor objects to ABC, which has connections
with Impact, a competitor of the Applicants, being given special access to confidential documents in the data room. I am
not satisfied that ABC has shown that it should be granted this special access. I decline to grant this access.

[29]    If ABC wishes to object to approval of a sale transaction after completion of the SISP, the proper time to do so is at
the hearing of such a motion.

Should approval be given to an increase in the DIP facility?

[30]    I am satisfied that approval should be given. The Monitor supports the request. No one opposes.
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Disposition

[31]   For these reasons, Orders to issue in forms of Orders signed by me today.




October 13th, 2023
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                     EXHIBIT 2

            CCAA DIP Increase Order
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                JUSTICE CAVANAGH                                                              DAY OF OCTOBER, 2023


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                 “AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
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               Arrangement Act, R.S.C. 1985, c. C-36, as amended, (the “CCAA”) for an order (i) increasing the

               authorized borrowings under the DIP Term Sheet (as defined in the Initial Order); and (ii)

               approving the activities, conduct and decisions of B. Riley Farber Inc., in its capacity as the

               Monitor of the Applicants (the “Monitor”), was heard this day by Zoom videoconference.


                        ON READING the Motion Record of the Applicants dated October 5, 2023, the

               Responding Motion Record of LHIMP (ABC), LLC (“ABC”)., dated October 11, 2023, the first

               report of the Monitor dated August 1,2023 (the “First Report”), the second report of the Monitor

               dated October 5, 2023 (the “Second Report”), and upon hearing the submissions of counsel for

               the Applicants, counsel for SCS Finance, Inc. (the “DIP Lender”), counsel for ABC, counsel for

               Massimiliano Siccardi, counsel for the Monitor, and counsel for the shareholders of the Applicants,


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            no one appearing for any other party although duly served as appears from the affidavit of service

            of Gina Rhodes dated October 5, 2023, filed.


            SERVICE AND DEFINITIONS


            1.        THIS COURT ORDERS that the time for service of the Notice of Motion and Motion

            Record is abridged and validated such that this Motion is properly returnable today, and further

            service of the Notice of Motion and the Motion Record is hereby dispensed with.


            2.        THIS COURT ORDERS that capitalized terms used in this Order and not otherwise

            defined herein shall have the meaning ascribed to them in the Amended and Restated Initial Order

            dated July 27, 2023 (the “ARIO”) and the Second Report.


            DIP FINANCING INCREASE



            3.        THIS COURT ORDERS that the maximum authorized borrowings under the DIP Term

            Sheet is hereby increased from the principal amount of US$3,500,000 to US$4,000,000 (plus

            interest, fees, and expenses).


            APPROVAL OF MONITOR REPORTS AND ACTIONS


           4.         THIS COURT ORDERS that the First Report, Second Report and the activities, conduct

           and decisions of the Monitor as set out therein are hereby ratified and approved, provided that only




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            the Monitor, in its personal capacity and only with respect to its own personal liability, shall be entitled

            to rely upon or utilize in any way such approval.


            GENERAL


            5.        THIS COURT ORDERS that the Applicants or the Monitor may from time to time apply

           to this Court for advice and directions in the discharge of their powers and duties hereunder.


            6.        THIS COURT HEREBY REQUESTS the aid and recognition of any court, tribunal,

           regulatory or administrative body having jurisdiction in Canada, the United States or elsewhere,

           to give effect to this Order and to assist the Applicants, the Monitor and their respective agents in

           carrying out the terms of this Order. All courts, tribunals, regulatory and administrative bodies are

           hereby respectfully requested to make such orders and to provide such assistance to the Applicants

           and to the Monitor, as an officer of this Court, as may be necessary or desirable to give effect to

           this Order, to grant representative status to the Monitor in any foreign proceeding, or to assist the

           Applicants and the Monitor and their respective agents in carrying out the terms of this Order.


           7.        THIS COURT ORDERS that each of the Applicants and the Monitor be at liberty and is

           hereby authorized and empowered to apply to any court, tribunal, regulatory or administrative

           body, wherever located, for the recognition of this Order and for assistance in carrying out the

           terms of this Order, and that the Monitor is authorized and empowered to act as a representative

           in respect of the within proceedings for the purpose of having these proceedings recognized in a

           jurisdiction outside Canada.

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            8.        THIS COURT ORDERS that this Order is effective from the date that it is made and is

            enforceable without any need for entry and filing.

                                                                                                     Digitally signed
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                                                                                                     Cavanagh




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                    EXHIBIT 3

               CCAA Sealing Order
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             JUSTICE CAVANAGH


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             IN THE MATTER OF THE COMPANIES’ CREDITORS ARRANGEMENT ACT, R.S.di&SftS
                                                               c.C-36 AS AMENDED                                     '

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                   AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT.Ot ; SggS <f?
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                    LIGHTHOUSE IMMERSIVE INC. AND LIGHTHOUSE IMMERSIVE USA, INCfiSgSgs o
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                                                                  ORDER
                                                       (Sealing Confidential Appendix)




                      THIS MOTION, made by B. Riley Farber Inc., in its capacity as the Monitor of the

           Applicants (the “Monitor”), pursuant to the Companies ’ Creditors Arrangement Act, R.S.C. 1985,

           c. C-36, as amended, (the “CCAA”) for an order sealing the confidential appendix (“Confidential

            Appendix”) to the second report of the Monitor, including the supplement thereto (the “Second

            Report”) until further order of this Court, was heard this day by Zoom videoconference.


                      ON READING the Motion Record of the Applicants dated October 5, 2023, the

            Responding Motion Record of LHIMP (ABC), LLC (“ABC”), dated October 11, 2023, the first

           report of the Monitor dated August 1, 2023 (the “First Report”), the second report of the Monitor

           dated October 5,2023 and the supplement thereto dated October 12, 2023 (the “Second Report”),

           and upon hearing the submissions of counsel for the Applicants, counsel for SCS Finance, Inc.

           (the “DIP Lender”), counsel for ABC, counsel for Massimiliano Siccardi, counsel for the Monitor,
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            and counsel for the shareholders of the Applicants, no one appearing for any other party although

            duly served as appears from the affidavit of service of Gina Rhodes dated October 5, 2023, filed

            and the affidavit of service of Marco Gaspar dated October 12, 2023.


            SERVICE AND DEFINITIONS


            1.        THIS COURT ORDERS that the time for service is abridged and validated such that this

            motion is properly returnable today, and hereby dispenses with further service thereof.


            2.        THIS COURT ORDERS that capitalized terms used in this Order and not otherwise

            defined herein shall have the meaning ascribed to them in the Second Report.


            SEALING PROVISION


            3.        THIS COURT ORDERS that the Confidential Appendix to the Monitor’s Second Report

            is hereby sealed and shall not form part of the public record until further Order of this Court.

           GENERAL


           4.         THIS COURT HEREBY REQUESTS the aid and recognition of any court, tribunal,

           regulatory or administrative body having jurisdiction in Canada, the United States or elsewhere,

           to give effect to this Order and to assist the Applicants, the Monitor and their respective agents in

           carrying out the terms of this Order. All courts, tribunals, regulatory and administrative bodies are

           hereby respectfully requested to make such orders and to provide such assistance to the Applicants

           and to the Monitor, as an officer of this Court, as may be necessary or desirable to give effect to

           this Order, to grant representative status to the Monitor in any foreign proceeding, or to assist the

           Applicants and the Monitor and their respective agents in carrying out the terms of this Order.
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            5.        THIS COURT ORDERS that each of the Applicants and the Monitor be at liberty and is

            hereby authorized and empowered to apply to any court, tribunal, regulatory or administrative

            body, wherever located, for the recognition of this Order and for assistance in carrying out the

           terms of this Order, and that the Monitor is authorized and empowered to act as a representative

            in respect of the within proceedings for the purpose of having these proceedings recognized in a

           jurisdiction outside Canada.


           6.         THIS COURT ORDERS that this Order is effective from the date that it is made and is

           enforceable without any need for entry and filing.


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                                                                                                     Mr. Justice Cavanagh




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                    EXHIBIT 4

          CCAA Stay Extension Order




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                                                     SUPERIOR COURT OF JUSTICE
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             THE HONOURABLE                                                                                        FRIDAY, THE 6™

             JUSTICE CAVANAGH                                                                          DAY OF OCTOBER, 2023



             IN THE MATTER OF THE COMPANIES’ CREDITORS ARRANGEMENT ACT, R.S.C. 1985,
                                      c.C-36 AS AMENDED



                   AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
                    LIGHTHOUSE IMMERSIVE INC. AND LIGHTHOUSE IMMERSIVE USA, INC.

                                                                          ORDER
                                                                      (Stay Extension)




                      THIS MOTION, made by the Applicants, pursuant to the Companies’ Creditors

            Arrangement Act, R.S.C. 1985, c. C-36, as amended, (the “CCAA”) for an order extending the

            stay of proceedings (the “Stay Period”) in these CCAA proceedings, was heard this day by Zoom

            videoconference.


                      ON READING the Motion Record of the Applicants and the second report of the Monitor

            dated October 5, 2023 (the “Second Report”), and upon hearing the submissions of counsel for

            the Applicants, counsel for the Monitor, counsel for the shareholders of the Applicants, no one

            appearing for any other party although duly served as appears from the affidavit of service of Gina

            Rhodes dated October 5, 2023, filed,                                , HIS IS TO CERTIFY THAT THIS         LA PRESENT ATTEST QUE CE
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SERVICE AND DEFINITIONS


1.       THIS COURT ORDERS that the time for service of the Notice of Motion and Motion

Record is abridged and validated such that this Motion is properly returnable today, and further

service of the Notice of Motion and the Motion Record is hereby dispensed with.


2.       THIS COURT ORDERS that capitalized terms used in this Order and not otherwise

defined herein shall have the meaning ascribed to them in the Amended and Restated Initial Order-''• 5 r 1

dated July 27, 2023 (the “ARIO”) and the Second Report.


STAY EXTENSION


3.       THIS COURT ORDERS that the Stay Period is hereby extended from October 6,2023

to and including December 8, 2023.


GENERAL                                                                                                      5
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4.       THIS COURT ORDERS that the Applicants or the Monitor may from time to time apply

to this Court for advice and directions in the discharge of their powers and duties hereunder.


5.       THIS COURT HEREBY REQUESTS the aid and recognition of any court, tribunal,

regulatory or administrative body having jurisdiction in Canada, the United States or elsewhere,

to give effect to this Order and to assist the Applicants, the Monitor and their respective agents in

carrying out the terms of this Order. All courts, tribunals, regulatory and administrative bodies are

hereby respectfully requested to make such orders and to provide such assistance to the Applicants

and to the Monitor, as an officer of this Court, as may be necessary or desirable to give effect to

this Order, to grant representative status to the Monitor in any foreign proceeding, or to assist the

Applicants and the Monitor and their respective agents in carrying out the terms of this Order.

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 6.        THIS COURT ORDERS that each of the Applicants and the Monitor be at liberty and is

 hereby authorized and empowered to apply to any court, tribunal, regulatory or administrative

 body, wherever located, for the recognition of this Order and for assistance in carrying out the

 terms of this Order, and that the Monitor is authorized and empowered to act as a representative

 in respect of the within proceedings for the purpose of having these proceedings recognized in a

 jurisdiction outside Canada.


 7.        THIS COURT ORDERS that this Order is effective from the date that it is made and is

 enforceable without any need for entry and filing.

                                                                          Digitally signed by
                                                                          Mr. Justice
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                                      SUPERIOR COURT OF JUSTICE

                                            COUNSEL SLIP

 COURT FILE NO.:               CV-23-00703509-00CL             DATE: 6 October 2023


                                                                                   NO. ON LIST:      1
 TITLE OF PROCEEDING:    LIGHTHOUSE IMMERSIVE INC. AND LIGHTHOUSE
                         IMMERSIVE USA, INC. v. SICCARDI et al
 BEFORE JUSTICE:     MR JUSTICE CAVANAGH


 PARTICIPANT INFORMATION


For Plaintiff, Applicant, Moving Party, Crown:

    Name of Person Appearing                     Name of Party                        Contact Info
 Kyla Mahar                           Counsel for Applicants              kmahar@millerthompson.com
                                                                          416-597-4303
 Gina Rhodes                          S/A                                 grhodes@millerthompson.com
                                                                          416-597-4321


For Defendant, Respondent, Responding Party, Defence:

    Name of Person Appearing                   Name of Party                        Contact Info
 Harvey Chaiton                       Massimiliano Siccardi               harvey@chaitons.com
                                                                          416-218-1129




For Other, Self-Represented:

    Name of Person Appearing                    Name of Party                        Contact Info
 Rebecca Kennedy                      Counsel for Monitor                 rkennedy@tgf.ca
                                                                          416-304-0971
 Rachel Fielding                      S/A                                 rfielding@tgf.ca
                                                                          416-304-0971
 Jeff Larry                           Counsel for LHIMP (ABC), LLP        jeff.larry@paliareroland.com
                                                                          415-646-4330
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 Steven Weisz                          Counsel for SCS Finance               sweisz@cozen.com
                                                                             641-417-5334
 Hylton Levy                           Monitor                               hlevy@brileyfin.com
                                                                             416-496-3070
 Allan Nackan                          Monitor




ENDORSEMENT OF JUSTICE CAVANAGH:

At the hearing today, the Applicants request an extension of the stay of proceedings in this CCAA proceeding.
On the evidence before me, I am satisfied that the Applicants are acting in good faith and that the request
should be granted. I am satisfied that it is in the interests of stakeholders as a whole to extend the stay until
December 8, 2023, as requested, to give the Applicants needed stability during this process. It is open to any
party to move to vary the stay of proceedings.

The Applicants’ motion for an order (i) increasing the maximum borrowings under the DIP Term Sheet; and (ii)
approving a sale and investment solicitation process and approving a stalking horse agreement dated October
5, 2023 is adjourned to October 13, 2023 at 9:00 a.m. for 90 minutes.

If counsel for any interested party needs to seek directions with respect to the timetable for this motion,
counsel is given leave to seek an urgent appointment with me through the Commercial List Office and I will
accommodate the request.

Order to issue in form of Order signed by me today.
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                     APPENDIX “B”

TEASER LETTER, NDA AND ACKNOWLEDGMENT LETTER
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                    TEASER LETTER
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                                               ACQUISITION / INVESTMENT OPPORTUNITY
                                        LIGHTHOUSE IMMERSIVE INC. AND LIGHTHOUSE IMMERSIVE
                                                          USA, INC.

                               On July 27, 2023, Lighthouse Immersive Inc. (“Lighthouse”) and Lighthouse
                               Immersive USA, Inc. (“Lighthouse USA”), (together, the “Companies”) were
                               granted an initial order (as amended and restated, the “Initial Order”) under the
                               Companies’ Creditors Arrangement Act (“CCAA”) by the Ontario Superior Court of
                               Justice (Commercial List) (the “Court”). The Court appointed B. Riley Farber Inc. as
                               Monitor of the Companies (the “Monitor”). The Companies commenced and
                               obtained recognition of the CCAA proceedings in the United States Bankruptcy Court
                               under Chapter 15, Title 11, of the United States Code (the “Chapter 15
                               Proceedings”).

                               On October 13, 2023, the Court granted an order (the “SISP Order”), approving the
                               Companies’ sale and investment solicitation process (the “SISP”), to solicit interest
                               in a restructuring, recapitalization or other form of reorganization of the business
                               operations and affairs of the Companies (the “Opportunity”). The Court also
                               approved the Stalking Horse Agreement between the Companies and SCS Finance,
                               Inc., dated October 5, 2023 (the “Stalking Horse Bidder”).

                               The Monitor will be conducting the SISP. Recipients should direct all questions or
                               requests for additional information to the Monitor and not to anyone at the
                               Companies.

                                                HIGHLIGHTS OF THE COMPANIES’ BUSINESS

                                   ▪   The Companies produce and deliver immersive entertainment experiences
                                       incorporating art, music, and state-of-the-art technology to the public in
                                       Toronto and various markets in the United States.
                                   ▪   The Companies’ immersive exhibits highlight brushstrokes, colour and detail
                                       to bring art “to life” and is paired with music to create a full immersive
                                       experience.
                                   ▪   Commencing in 2020 in Toronto, Lighthouse’s Immersive Van Gogh show
                                       projected artwork in 360 degrees on 500,000 cubic feet of surfaces within
                                       the gallery’s architecture.
                                   ▪   The Companies’ combined revenues in 2022 totaled approximately US$24
                                       million.
                                   ▪   The Companies’ combined assets include merchandise inventories,
                                       audio/video (“AV”) and production equipment, and intellectual property,
                                       including a customer database.




150 York St. Suite 1600
Toronto, ON M5H 3S5
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                                                            TRANSACTION PROCESS

                               The Opportunity may include one or more of a restructuring, recapitalization or other
                               form or reorganization of the business and affairs of the Companies as a going
                               concern or a sale of all, substantially all or one or more components of the
                               Companies’ assets (the “Property”) and business operations (the “Business”) as a
                               going concern or otherwise, or some combination thereof (each, a “Transaction”).

                               Parties who are interested in participating in the SISP (a “Potential Bidder”) must
                               provide to the Monitor: (i) a non-disclosure agreement in the form and substance
                               satisfactory to the Companies and the Monitor, and their respective counsel (“NDA”);
                               and (ii) information satisfactory to the Monitor as to their financial wherewithal to
                               close a Transaction.

                               The Stalking Horse Bidder is related to the Companies. A copy of the Stalking Horse
                               Agreement is available on the Monitor’s website and within the electronic data room
                               (“Data Room”). Access to the Data Room for due diligence materials will be granted
                               only to Potential Bidders who comply with the above requirements.

                               Potential Bidders who wish to make a formal offer to purchase or make an investment
                               in the Companies or their Property or Business shall submit a binding offer (“Bid”)
                               addressed to the Monitor and Companies’ counsel that complies with all the
                               requirements in the SISP.

                               The Bid must be either a binding offer to: (i) acquire all, substantially all or a portion
                               of the Property (a “Sale Proposal”); or (ii) make an investment in, restructure,
                               reorganize or refinance the Business or the Companies (an “Investment Proposal”);
                               or (iii) carry out any combination of a Sale Proposal and an Investment Proposal.

                               In order for the Monitor to designate a Bid as a “Qualified Bid”, the Bid must comply
                               with the requirements of the SISP, including proposing a cash purchase price equal
                               to or greater than the purchase price contemplated in the Stalking Horse Agreement
                               plus US$50,000.

                               If the Monitor receives at least one additional Qualified Bid in addition to the Stalking
                               Horse Bid, the Monitor will conduct and administer an Auction in accordance with the
                               terms of the SISP. If there is an Auction, the Monitor, in consultation with the
                               Companies, will review each Qualified Bid and identify the highest or otherwise best
                               bid received (the “Successful Bid”).

                               The Companies will seek Court approval of the Successful Bid.

                               Potential Bidders are encouraged to submit their offers in accordance with the terms
                               of the SISP. Bidders must rely solely on their own independent review, investigation
                               and/or inspection of all information and of the Property and Business in connection
                               with their participation in the SISP and any transaction they enter into with the
                               Companies.

                               Visit the Monitor’s website (Lighthouse Immersive BRF link) for relevant information
                               on the Companies and the CCAA and Chapter 15 Proceedings.

                               Capitalized terms not defined in this teaser letter are defined in the SISP Order,
150 York St. Suite 1600        including Schedule “A” attached thereto.
Toronto, ON M5H 3S5
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FarberGroup.com
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                                                               BID DEADLINE

                               For a Bid to be considered, it must be received by the Monitor and the
                               Companies’ counsel no later than 5:00PM EST on November 15, 2023.

                                                         ADDITIONAL INFORMATION

                               For further information, potential purchasers may contact Rob Biehler or James
                               Sacoransky by telephone or by email (below):



                                                             B. Riley Farber Inc.
                                                 In its capacity as Court-Appointed Monitor

                               Rob Biehler                                  James Sacoransky
                               Managing Director                            Senior Manager
                               Email: rbiehler@brileyfin.com                Email: jsacoransky@brileyfin.com
                               Tel: +1 (905) 749 - 4694                     Tel: +1 (647) 962 - 5384




150 York St. Suite 1600
Toronto, ON M5H 3S5
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                                NON-DISCLOSURE AGREEMENT

THIS AGREEMENT made as of October ____, 2023

BETWEEN:

                          ________________________________________
                                       (“Counterparty”)

                                                 AND

                  Lighthouse Immersive Inc. and Lighthouse Immersive USA, Inc.
                                 (together, the “Companies”)


The following terms and conditions of this Non-Disclosure Agreement (the “Agreement”) apply to
Confidential Information disclosed by Submitting Party to Receiving Party in connection with a sale
and investment solicitation process (the “SISP”) conducted by B. Riley Farber Inc., in its capacity
as court-appointed Monitor of the Companies (the “Monitor”) of the Companies’ proceedings under
the Companies’ Creditors Arrangement Act (the “CCAA”), and pursuant to the Order of the Court
dated October 13, 2023 (the “SISP Order”).

Counterparty and the Companies are each referred to within as a “Party” and collectively as the
“Parties”. The Party providing the Confidential Information is deemed the “Submitting Party” and
the Party receiving the Confidential Information is deemed the “Receiving Party”. In connection
with their consideration of one or more possible transactions (“Transactions”) between
Counterparty and the Companies in accordance with the SISP and SISP Order, each Party has
received or may receive non-public, proprietary information containing valuable, proprietary and
confidential trade secrets and other technical, business, strategic, financial and marketing data about
the Submitting Party and/or its subsidiaries and affiliates (“Confidential Information”). The
Confidential Information may include specific information about financial operations, details of
certain of the Companies’ immersive shows, as well as other opportunities under consideration and
pursuit. The Confidential Information may be delivered orally, in writing or by other media.

As between the Parties, the Submitting Party exclusively owns its Confidential Information and all
proprietary rights in or associated with its Confidential Information. Unauthorized use or disclosure
of Confidential Information may cause substantial and irreparable damage to the Submitting Party’s
business and competitive position. Confidential Information is being provided by Submitting Party
to Receiving Party in confidence in accordance with the following terms and conditions:




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    1. Confidential Information is being            or affiliates without prior written consent from
provided solely for the purpose of enabling         the Monitor unless in the ordinary course of
Receiving Party to make an evaluation of            Counterparty’s business unrelated to the
possible participation in one or more of the        Transactions       contemplated     under     this
Transactions.                                       Agreement.
Without the prior written consent of                The restrictions in Section 1 will not apply to
Submitting Party, Receiving Party will not (a)      any Confidential Information that Receiving
disclose to any third party the fact that any       Party can demonstrate:
Confidential Information has been provided to                a. is or becomes publicly available
Receiving Party or that either Party is                          without breach of this Agreement;
exploring the possibility of participating in the                or
Transactions or that such Transactions are the               b. was rightly received without
subject of consideration; (b) disclose to any                    obligation of confidentiality from a
third party any or all Confidential Information;                 third party; or
or (c) use Confidential Information for any                  c. was independently developed by
purpose other than evaluating the potential                      Receiving Party.
Transactions. Receiving Party will only
                                                    Notwithstanding the above, nothing herein will
disclose Confidential Information to those of
                                                    prevent Receiving Party from disclosing
its affiliates, employees, officers, directors,
                                                    Confidential       Information    pursuant     to
agents, representatives, advisors, shareholders
                                                    requirement by law, valid court order,
(and their respective affiliates, employees,
                                                    subpoena or government inquiry; provided,
officers, directors, agents, representatives and
                                                    however, that prior to any such disclosure
advisors), financing sources, lenders or
                                                    Receiving Party will, as applicable, (i) unless
potential lenders, partners or potential partners
                                                    prohibited by law from doing so, notify
and            consultants          (collectively
                                                    Submitting Party promptly in writing of the
“Representatives”) who reasonably need to
                                                    order or subpoena and of the facts and
know such information and who agree to
                                                    circumstances surrounding such order or
comply with the terms of this Agreement or
                                                    request so that Submitting Party may seek an
who are otherwise bound by duties of
                                                    appropriate protective order; (ii) cooperate
confidentiality that are no less stringent than
                                                    with Submitting Party in any proceeding to
the requirements hereof. Such disclosure by
                                                    obtain an appropriate protective order; and
Receiving Party will be made only to the extent
                                                    (iii) to the extent disclosure is still required,
necessary in order to prepare the above-
                                                    take all reasonable steps to make the disclosure
mentioned evaluation or to make decisions or
                                                    on a confidential basis.
render advice in connection therewith. Any
unauthorized disclosure or use of Confidential          2. In the event the Counterparty produces
Information       by      Receiving       Party’s   work product for the Companies that is paid for
Representatives will be deemed to have been         by the Companies, the work product shall
by Receiving Party, and Receiving Party will        become the property of the Companies and the
be responsible and liable for any breach of this    intellectual property contained therein will
Agreement by its Representatives.                   belong to the Companies.
All communications with the Companies                   3. Receiving Party agrees to use the same
regarding the potential Transactions or             care and discretion to avoid disclosure of
Confidential Information shall be made solely       Confidential Information as it uses with its own
through the Monitor, and Counterparty shall         similar information it does not wish to disclose,
not communicate with any of the Companies’          but in no event less than a reasonable standard
partners, lenders, employees, vendors,              of care. Receiving Party will promptly provide
customers, labour representatives, consultants,     Submitting Party with notice of any actual or
                                               2
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threatened breach of the terms of this             Agreement’s confidentiality obligations), and
Agreement or unauthorized disclosure or use        (ii) Receiving Party and its Representatives
of Confidential Information.                       shall not be required to delete electronically-
                                                   stored Confidential Information to the extent
    4. Receiving Party agrees to indemnify
                                                   such deletion would be technologically
the Companies for losses, damages, costs and
                                                   impracticable or inconsistent with the archival
expenses arising from any breach of this
                                                   records retention policy of Receiving Party or
Agreement caused by Receiving Party or its
                                                   its Representatives (subject to this
Representatives. In addition to any and all
                                                   Agreement’s confidentiality obligations).
remedies available at law or in equity,
Receiving Party agrees to take all reasonable          7. The Parties expressly acknowledge that
measures, including court proceedings at           monetary damages alone may not be an
Receiving Party’s own expense, to restrain         adequate remedy for any breach of this
current or future Representatives from             Agreement and that, in addition to any other
unauthorized use or disclosure of Confidential     remedies which the Parties may have,
Information.                                       Submitting Party will be entitled to seek
    5. Except as may otherwise by expressly        injunctive    relief,   including    specific
set forth in a definitive written agreement        performance, in any court of competent
between the Parties, neither Party shall be        jurisdiction with respect to any actual or
deemed to have made any representation or          threatened breach by Receiving Party of this
warranty as to the accuracy or completeness        Agreement without the necessity of proving
of Confidential Information, or any item or        actual damages or posting a bond.
items thereof. Without limitation of the               8. In addition to its other obligations
foregoing, Receiving Party acknowledges that       under this Agreement, Receiving Party will
financial information provided to Receiving        comply with all applicable privacy laws
Party must be independently verified by            regarding its collection, use, protection and
Receiving Party prior to consummating any          disclosure of personal information contained in
Transaction. It is understood that this            the    Submitting       Party’s   Confidential
Agreement does not obligate either Party to        Information.
enter into any further definitive agreement or
to disclose any particular information to the          9. This Agreement will remain in effect
other Party and, other than as contemplated in     for a period of two (2) years from the date that
section 2 herein, does not grant any               either Party terminates negotiations with
intellectual property rights to Receiving Party.   respect to the potential Transactions.

    6. Upon request from the Submitting                10. The substantive laws of the Province of
Party, Receiving Party will promptly destroy       Ontario will govern this Agreement, without
or return to Submitting Party all Confidential     reference to provisions relating to conflict of
Information, any copies thereof, and all notes,    laws.
correspondence, documents or other records             11. Nothing in this Agreement is intended to
relating to the Confidential Information or the    grant any rights under any copyright or
above-mentioned Transactions then in               trademark of either Party, nor will this
Receiving          Party’s         possession.     Agreement grant any rights in or to Confidential
Notwithstanding anything to the contrary in        Information, except as expressly permitted
this Agreement, (i) Receiving Party and its        hereunder.
Representatives may retain copies of
Confidential Information to the extent                 12. This Agreement will be binding upon
Receiving Party or its Representatives are         and inure to the benefit of the Parties and their
required to do so by applicable law or internal    respective successors, agents and assigns. If
record keeping policies (subject to this           any provision of this Agreement is deemed void
                                              3
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by law, the remaining provisions will continue      volition, without any overt or tacit
in full force and effect. Failure to enforce any    encouragement by the Covered Entities, to a
provision of this Agreement will not constitute     general solicitation or advertisement not
a waiver of any term hereof. This Agreement         targeted specifically at employees of the
may be executed in counterparts, each of which      Companies or its affiliates; (b) who contacts
will be deemed an original and each of which        the Covered Entities on his/her own initiative
together will constitute one and the same           without any direct or indirect solicitation or
instrument.                                         encouragement from the Covered Entities,
                                                    other than any general solicitation or
     13. The prevailing party in any litigation
                                                    advertisement; (c) whose employment with the
relating to the enforcement, interpretation
                                                    Companies or its affiliates is terminated by the
and/or breach of this Agreement will be
                                                    Companies or such affiliate; or (d) with whom
entitled to recover (in addition to any damages
                                                    the Covered Entities have not had any contact
or other relief granted) reasonable legal fees
                                                    with or of whom the Covered Entities have not
and other expenses in connection with such
                                                    become aware of in connection with the
litigation (both at trial and on any appeals
                                                    Transactions.
therefrom).
     14. Receiving Party hereby acknowledges            16. Non-Interference. Counterparty agrees
that it is aware, and Receiving Party shall         that neither it, nor any of its affiliates will,
advise its Representatives who are informed         directly or indirectly, use the Confidential
of the matters that are the subject of this         Information of the Companies to solicit,
Agreement, that applicable United States and        induce, encourage or otherwise cause any of
Canadian securities laws place certain              the Companies’ customers, suppliers,
restrictions on any person who has material,        manufacturers, distribution partners, clients,
non-public information concerning an issuer,        advertisers,     marketing      representatives,
with respect to purchasing or selling securities    investors, lenders, advisors or consultants to
of such issuer or from communicating such           alter, change, modify, cancel, discontinue,
information to any other person, and with           limit or refrain from entering into any
respect to United States securities laws, under     commercial       or    business     relationship
circumstances in which it is reasonably             (contractual or otherwise) with the Companies
foreseeable that such other person is likely to     or its affiliates, without the Companies’
purchase or sell such securities.                   express prior written consent; nor will the
                                                    Counterparty or any of its affiliates use the
     15. Non-Solicit. Counterparty shall not,
                                                    Confidential Information of the Companies to
and shall cause its affiliates (together with
                                                    solicit or attempt to initiate a new business
Counterparty, the “Covered Entities”) not to,
                                                    relationship, or modify terms of an existing
for a period of one (1) year from the date
                                                    business relationship, with any such customer,
hereof, solicit, employ or retain, any officer or
                                                    supplier, manufacturer, distribution partner,
employee of the Companies or its affiliates
                                                    client, advertiser, marketing representative,
without the prior written consent of the
                                                    investor, lender, advisor or consultant.
Companies; provided, that the Covered
Entities shall not be precluded from hiring any
person (a) who responds on his or her own




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AGREED TO AND ACCEPTED:

[COUNTERPARTY’S LEGAL NAME]:



__________________________



Name: ____________________

Title: _____________________




LIGHTHOUSE IMMERSIVE INC., by its
Court-appointed Monitor, B. Riley Farber Inc.,
in its capacity as Monitor of the Companies, and
not in its personal capacity



__________________________

Name: ____________________

Title: _____________________



LIGHTHOUSE IMMERSIVE USA, INC., by its
Court-appointed Monitor, B. Riley Farber Inc.,
in its capacity as Monitor of the Companies, and
not in its personal capacity



__________________________

Name: ____________________

Title: _____________________
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             ACKNOWLEDGMENT LETTER
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                Acknowledgement of Sale and Investment Solicitation Process
The undersigned hereby acknowledges receipt of the sale and investment solicitation process
(“SISP”) as approved by the Order of the Honourable Justice Cavanagh of the Ontario Superior
Court of Justice (Commercial List) dated October 13, 2023, and acknowledges that compliance
with the terms and provisions of the SISP is required in order to participate in the SISP and for any
Bid to be considered by B. Riley Farber Inc., in its capacity as Court-appointed Monitor of
Lighthouse Immersive Inc. and Lighthouse Immersive USA, Inc.


Dated this ____ day of October, 2023




By: ___________________________________
Name:
Title:
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                     APPENDIX “C”

   ADVERTISEMENT OF SISP IN INSOLVENCY INSIDER
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                     APPENDIX “D”

     ADVERTISEMENT OF SISP IN NATIONAL POST
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FP2 financialpost.com                                  FINANCIAL POST                                                                                                              FINANCIAL POST, TUESDAY, OCTOBER 31, 2023




            THE TRANSFORMATION OF THE WORLD’S CITIES IS UNSTOPPABLE BECAUSE
            TECHNOLOGY LIBERATES MANY FROM OFFICES. THE TRANSITION WILL BE
            MESSY BECAUSE URBAN RENEWAL WON’T HAPPEN UNTIL RESIDENTIAL
            CONVERSIONS BECOME MORE ECONOMIC. — DIANE FRANCIS

                                  COMMENT


Residential conversions
the key to urban renewal
                               increase due to remote work       working at home. Attempts
 Municipalities                and overbuilding.
                                  “Tougher return-to-office
                                                                 to get employees back to the
                                                                 office have largely failed be-
  feeling weight               policies are no remedy for        cause working at home re-
 of empty offices              half-empty buildings,” re-
                               ported the Wall Street Jour-
                                                                 duces the costs of child care,
                                                                 transportation and other ex-
                               nal. “Office attendance in        penses.
                               big cities is still barely half      But the knock-on effects
                               of what it was in 2019, and       of office vacancies are mas-
                               company get-tough meas-           sive and will hurt munici-
                               ures are proving largely in-      pal governments, which are
                               effective at boosting that rate   reliant on commercial taxes,
                               much higher.”                     the retail sector, as “foot
                                  Even fast-growing Texas        traffic” dries up and con-
                               cities like Houston, Dallas       sumers increasingly shop
                               and Austin have 25 per cent       online for convenience, as
                               office vacancy rates, more        well as the banks that fi-
     Diane Francis             than New York’s 12 per cent       nanced large office develop-
                               and San Francisco’s 17 per        ments.
                               cent. In Canada, commercial          “Traditional downtowns


C
      hina is afflicted with   real estate firm CBRE issued      are dead, dying or on life                                                                                                       QILAI SHEN / BLOOMBERG FILES

      “ghost cities” featur-   a gloomy report noting that       support across the U.S. and             North American cities are facing a similar fate to China’s “ghost cities” as remote work
      ing downtown cores       Toronto’s downtown vacancy        elsewhere,” wrote John Ren-               and overbuilding lead to an increase in building vacancies, writes Diane Francis.
that were overbuilt with       rate hit 15.8 per cent earlier    nie Short, professor emeri-
government financing and       this year, the highest since      tus of public policy at the            doom loop, with a massive                        An “urban doom loop”                 downtown cores, intensify-
remain empty years later.      1996.                             University of Maryland, in             oversupply of office and re-                  is when the loss of work-               ing crime and urban decay.
But the same predicament          This trend was kicked off      the Conversation. “Today,              tail space, fewer commuters                   ers and businesses leads                Problems also arise when
faces downtowns across         by COVID lockdowns, which         many cities are confronting            and a looming urban fiscal                    to a reduction in property              loan losses cause banks to
North America, as vacancies    forced everyone to adapt to       the prospect of an urban               crisis.”                                      taxes and fewer people in               cut lending, which in turns
                                                                                                                                                                                              leads to further drops in
                                                                                                                                                                                              property prices and more
                                                                                                                                                                                              losses.
 NOTICE OF INTENT TO DISSOLVE                                                          MEDICAL CANNABIS INVESTMENT/ACQUISITION OPPORTUNITY
                                                                                NOTICE is hereby given that on October 2, 2023, the Court of King’s Bench of
                                                                                                                                                                                                 Canada’s banking regula-
                                                                                                                                                                                              tor, the Office of the Super-
          (Business Corporations Act (Alberta))                                 Alberta granted an order appointing KSV Restructuring Inc. (“KSV”) as receiver and                            intendent of Financial In-
                                                                                manager of the current and future assets, undertakings and properties of Pathway                              stitutions, recently warned
                                                                                Health Corporation and Pathway Health Services Corporation (the “Companies”).                                 that, “The outlook remains
    CNR (ECHO) RESOURCES INC.                                                   The Companies operate The Clinic Network, a leading medical cannabis clinic
                                                                                business in Canada.
                                                                                                                                                                                              difficult as seen through an
                                                                                                                                                                                              increasing number of stra-
 Notice is hereby given that a Certificate                                      On October 2, 2023, an Order (the “SISP Order”) was granted authorizing KSV,
                                                                                to conduct a sales and investment solicitation process (the “SISP”). Pursuant to
                                                                                                                                                                                              tegic defaults in the office
                                                                                                                                                                                              space, falling real estate in-
 of Intent to Dissolve was issued to                                            the SISP Order, the Receiver has entered into a Stalking Horse Asset Purchase
                                                                                Agreement. The SISP will solicit interest in, and opportunities for, a sale of, or
                                                                                                                                                                                              vestment trust values rela-
                                                                                                                                                                                              tive to their historical net
 CNR (Echo) Resources Inc.                                                      investment in, all the Companies’ Property and undertaking. Qualifying Bids must
                                                                                be submitted to KSV via email or mail by no later than 5:00 PM Calgary time
                                                                                                                                                                                              asset value estimates and
                                                                                                                                                                                              rising U.S. commercial mort-
 on October 31, 2023.                                                           on November 24, 2023, and must exceed in aggregate the total consideration
                                                                                payable pursuant to the Stalking Horse Asset Purchase Agreement (among other
                                                                                                                                                                                              gage-backed securities delin-
                                                                                                                                                                                              quency and special servicing
                                                                                conditions).                                                                                                  rates, especially in the office
 Dated at Calgary, Alberta,                                                     Information regarding the proceedings is available on KSV’s website at
                                                                                                                                                                                              segment.”
                                                                                                                                                                                                 City officials and develop-
 October 31, 2023.                                                              www.ksvadvisory.com/experience/case/pathway-health and may also be obtained
                                                                                from Ross Graham of KSV at rgraham@ksvadvisory.com or 587-287-2750.
                                                                                                                                                                                              ers are now scrambling
                                                                                                                                                                                              for alternatives. Some de-
                                                                                                                                                                                              velopers have handed their
                            Stephanie A. Graham,                                                   KSV RESTRUCTURING INC.                                                                     buildings over to their lend-
                                                                                                   RECEIVER                                                                                   ers. Earlier this year, for
                              Corporate Secretary                                                  Suite 1165, 324 – 8th Ave SW                                                               example, Canadian giant
                                                                                                                                                                                              Brookfield Corp. defaulted
                        CNR (Echo) Resources Inc.                                                  Calgary, Alberta T2P 2Z2
                                                                                                                                                                                              on more than $750 million
                                                                                                                                                                                              in debt involving two office
                                                                                     LIGHTHOUSE IMMERSIVE INC. AND LIGHTHOUSE IMMERSIVE USA, INC.                                             towers in Los Angeles.
                                                                                             SALE AND INVESTMENT SOLICITATION PROCEDURE                                                          Some developers are at-
                                                                               B. Riley Farber Inc., in its capacity as CCAA Monitor of Lighthouse Immersive Inc. and Lighthouse              tempting to convert office
                                                                               Immersive USA, Inc. (collectively, “Lighthouse” or the “Companies”), has commenced a sale and                  buildings into condos, but
                                                                               investment solicitation process (“SISP”) for the business and assets, including intellectual property,         costs can be prohibitive,
                                                                               of Lighthouse. Lighthouse provides immersive entertainment experiences incorporating art, music,               as are zoning restrictions.
                                                                               and state-of-the-art technology to the public in Toronto and the United States. As set out in the              Yet in New York, some de-
              NOTICE OF DIVIDEND                                               court approved SISP, a “stalking horse” Asset Purchase Agreement will serve as a floor for potential
                                                                               additional bids.
                                                                                                                                                                                              velopers are building large
                                                                                                                                                                                              condo projects that feature
                                                                               Interested parties will have until 5:00pm EST on November 15, 2023 to submit a binding offer                   co-working spaces, retail
  A quarterly dividend of 50 cents per share has                               in the form of a Sale Proposal, Investment Proposal, or a combination of the two. Upon the
                                                                                                                                                                                              and recreational facilities.
                                                                               execution of a non-disclosure agreement, interested parties will be granted access to an
  been declared on the outstanding common shares                               electronic data room containing relevant information on the Companies’ business, assets and
                                                                                                                                                                                              They are, in essence, remote
                                                                                                                                                                                              working residences but are
  of Imperial Oil Limited to shareholders of record                            the SISP.
                                                                                                                                                                                              downtown and close to the
                                                                               To obtain further information relevant to the SISP, please visit the Monitor’s website at
  at the close of business on December 1, 2023,                                https://farbergroup.com/engagements/lighthouse-immersive/.                                                     action, as well as near the
                                                                                                                                                                                              city’s night and cultural life.
  payable January 1, 2024.                                                     For additional information, please contact James Sacoransky at (647) 962 - 5384 or by email at
                                                                                                                                                                                                 New York City is also con-
                                                                               jsacoransky@brileyfin.com.
                                                                                                                                                                                              verting hotels into housing
                                             Ian R. Laing                      DATED AT Toronto, Ontario this 31st day of October 2023.
                                                                                                                                                                                              for its growing population
                                          Vice President,                                                                                                                                     of homeless people, so they
                                                                                                                                                                                              are near potential employ-
                                        General Counsel,                       B. RILEY FARBER INC., LIT
                                                                                                                                                                                              ment and services. One of
                                  and Corporate Secretary                      150 York Street, Suite 1600                                                                                    the first was the conversion
                                                                               Toronto, ON M5H 3S5                                                                                            of a 30-storey hotel in a
  Calgary, Alberta                                                             Tel: (437) 294-4600                                                                                            wealthy section of Brooklyn.
  October 27, 2023                                                             Fax: (416) 496-3839                                                                                            It has 500 units plus amen-
                                                                               www.farbergroup.com                                                                                            ities such as a gym, work-
                                                                                                                                                                                              rooms and on-site mental
             NOTICE OF BANKRUPTCY AND                                                          NOTICE OF BANKRUPTCY AND                                                                       health and social support
             FIRST MEETING OF CREDITORS                                                                                                                                                       services.
                                                                                               FIRST MEETING OF CREDITORS                                                                        The only Canadian juris-
                                                                                                                                                                                              diction with expertise in cop-
                  IN THE MATTER OF THE                                         In the ma�er of the bankruptcy of Acrylic Crea��n� Inc.                                                        ing with high downtown va-
                     BANKRUPTCY OF                                             No�ce is hereby given that the bankruptcy of Acrylic Crea��n� Inc.
                                                                                                                                                                                              cancies is Calgary, due to the
                                                                                                                                                                                              boom-and-bust nature of the
                 Eduardo Washington Curbelo                                    with registered address of 465 Signet Drive, Toronto, Ontario occurred                                         oil business. In recent years,
                                                                                                                                                                                              Calgary had office vacancy
 Notice is hereby given that the bankruptcy of Eduardo Washington              on the 26th day of October 2023; and that the ﬁrst mee�ng of creditors                                         rates as high as 30 per cent,
 Curbelo, occurred on the 24th day of October, 2023; and that the First        will be held on the 16th day of November 2023, at 2:00 pm. by video/                                           and had to create new plan-
 Meeting of Creditors will be held on the 13th day of November, 2023 at                                                                                                                       ning, zoning and govern-
                                                                               teleconference. To get informa�on on how to obtain an access code                                              ment financial schemes to
 224-92 Lakeshore Rd. E., Mississauga ON, at 03:00 pm in the City of           for the mee�ng, please call our oﬃce at 416-504-1650 ext 122.                                                  reinvent its city centre. Some
 Mississauga, in the Province of Ontario.                                                                                                                                                     residential conversions were
                                                                               DATED at Toronto, Ontario, this 31st day of October 2023.                                                      subsidized and other chan-
 Dated at Scarborough, Ontario this 26th day of October, 2023
                                                                                                                                                                                              ges were made to reduce
 Rusinek & Associates Inc.                                                                                                                                                                    costs for businesses.
 Licensed Insolvency Trustee                                                                                                                                                                     The transformation of the
 2401 Eglinton Avenue East                                                                                                                                                                    world’s cities is unstoppable
                                                                                                                                                                                              because technology liberates
 Suite 208                                                                                                                                                                                    many from offices. The tran-
 Scarborough, ON M1K 2M5                                                                                                                                                                      sition will be messy because
 Tel (416) 288-8048                                                                                     Albert Gelman Inc.                                                                    urban renewal won’t happen
 Fax (416) 288-8429                                                                                                                                                                           until residential conversions
                                                                                     Head Oﬃce: 60 Sha�esbury Avenue, Toronto, Ontario M4T 1A3                                                become more economic.
 info@rusinek.ca                                                                                      www.albertgelman.com                                                                            Financial Post
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                          APPENDIX “E”

FORECAST VS ACTUAL VARIANCE ANALYSIS FOR THE 6 WEEKS ENDED
                     NOVEMBER 12, 2023
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LIGHTHOUSE IMMERSIVE INC. ("LHI") & LIGHTHOUSE IMMERSIVE USA, INC. ("LHI USA")
Actual Cash Flow vs. Revised Forecast - Cumulative Variance Analysis
For the 6 weeks ended November 12, 2023
In USD

                                                           Forecast             Actual         Variance - B/(W)
6-week period ending                                      11/12/2023          11/12/2023   7     11/12/2023

Cash Receipts
Box Office Ticket Sale Collections                    $         120,000   $         107,038    $        (12,962)
Other Income                                                          -             926,154             926,154
Divestiture of Surplus Inventory and Capital Assets   $             -                     -                   -
Transfer from Affiliated Companies                                    -                   -                   -
Rate Card Reimbursements from LHI Studios             $         260,698             326,487              65,788

Total Receipts                                        $        380,698    $      1,359,679     $       978,981

Cash Disbursements
Visioni Royalties                                     $           6,000   $             -      $          6,000
LHI Payroll & Payroll Remittances                               343,238             312,999              30,238
LHI USA Payroll & Payroll Remittances                           135,000             150,080             (15,080)
Contract Payroll From Related Party                             192,000              25,695             166,305
LHI Rent                                                        162,789             134,927              27,862
LHI Utilities and Other Occupancy Costs                          32,040              11,673              20,367
LHI Corporate Overhead                                          179,738             144,553              35,185
LHI USA Corporate Overhead                                      120,283             107,577              12,706
Load out costs                                                  318,750              42,949             275,801
Transfer to LHI USA Wholly Owned Subsidiaries                   700,000             964,144            (264,144)
LHI Cowboy Production Costs                                         -               227,083            (227,083)
Foreign exchange (gain) / loss                                      -                (1,700)              1,700

Total Operating Disbursements                         $      2,189,838    $      2,119,980     $        69,858
LHI & LHI USA Legal Counsel Fees                      $         190,000   $         289,831    $         (99,831)
Monitor Fees                                                    180,000             193,178              (13,178)
Monitor's Legal Counsel Fees                                     85,000              48,832               36,168
DIP Lender Legal Fees                                                 -              55,002              (55,002)

CCAA Professional Fees                                $        455,000    $        586,842     $      (131,842)

Total Disbursements                                   $      2,644,838    $      2,706,822     $       (61,984)

Net Receipts                                          $     (2,264,140) $       (1,347,143)    $       916,997

Opening Cash Position                                 $         710,054   $         710,054    $             -

DIP Financing Advances to Companies                   $       2,426,000   $       1,280,803    $      (1,145,197)

Cash Ending Balance                                   $        871,914    $        643,714     $      (228,200)

Total DIP Financing Advances                                              $      2,854,803
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IN THE MATTER OF THE COMPANIES’ CREDITORS ARRANGEMENT ACT, R.S.C. 1985, c.C-36 AS AMENDED

AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF LIGHTHOUSE IMMERSIVE INC. AND LIGHTHOUSE
IMMERSIVE USA, INC. (collectively, the “Applicants”)

                                                                                       Court File No.: CV-23-00703509-00CL


                                                                                      ONTARIO
                                                                             SUPERIOR COURT OF JUSTICE
                                                                                 COMMERCIAL LIST

                                                                             Proceedings commenced at Toronto

                                                                           THIRD REPORT OF THE MONITOR
                                                                                Dated November 16, 2023



                                                                    Thornton Grout Finnigan LLP
                                                                    Barristers and Solicitors
                                                                    Toronto-Dominion Centre
                                                                    100 Wellington Street West
                                                                    Suite 3200, P.O. Box 329
                                                                    Toronto, ON M5K 1K7
                                                                    Fax:      416-304-1313

                                                                    Rebecca Kennedy (LSO# 61146S)
                                                                    Tel: (416) 304-0603 / Email: rkennedy@tgf.ca

                                                                    Rachel Fielding (LSO# 72211S)
                                                                    Tel: (416) 304-0971 / Email: rfielding@tgf.ca

                                                                    Marco Gaspar (LSO# 84199A)
                                                                    Tel: (416) 306-5825 / Email: mgaspar@tgf.ca

                                                                    Lawyers for the Court-Appointed Monitor, B. Riley Farber
                                                                    Inc.
